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13
                         UNITED STATES DISTRICT COURT
14
                       CENTRAL DISTRICT OF CALIFORNIA
15
                       WESTERN DIVISION – LOS ANGELES
16
   SECURITIES AND EXCHANGE              Case No. 2:19−cv−02188−DSF−MRW
17
   COMMISSION,                          Hon. Dale S. Fischer
18
                   Plaintiff,           MEMORANDUM OF POINTS AND
19
                                        AUTHORITIES IN SUPPORT OF
20         v.                           MOTION OF RECEIVER FOR
                                        APPROVAL OF:
21
   DIRECT LENDING INVESTMENTS
22 LLC,                                     (1) DISTRIBUTION PLAN;
                                            (2) RISING TIDE DISTRIBUTION
23
                 Defendant.                     METHODOLOGY WITH
24                                              RESPECT TO DLIF
                                                INVESTOR CLAIMS;
25
                                            (3) PROPOSED INTERIM
26                                              DISTRIBUTION; AND
27                                          (4) NOTICE OF DISTRIBUTION
                                                PLAN
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 1                                            Date: December 21, 2020
 2                                            Time: 1:30 PM
                                              Place: Courtroom 7D
 3                                                   United States District Court
 4                                                   Western Division
                                                     350 West 1st Street,
 5                                                   Los Angeles, CA 90012
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  1        Bradley D. Sharp, the Court-appointed permanent receiver (the “Receiver”) for the
  2 estate of Direct Lending Investments, LLC (“DLI”), Direct Lending Income Fund, L.P.
  3 (“DLIF” or the “Onshore Fund”), Direct Lending Income Feeder Fund, Ltd. (“DLIFF”
  4 or the “Offshore Fund” and together with DLIF, the “Feeder Funds”), DLI Capital, Inc.
  5 (DLI Capital”), DLI Lending Agent, LLC (“DLIA”), DLI Assets Bravo LLC (“DLIAB”),
  6 and their successors, subsidiaries and affiliated entities (collectively, the “Receivership
  7 Entities”) pursuant to the Preliminary Injunction Order and Order Appointing Permanent
  8 Receiver issued April 1, 2019 (“Receiver Order”) (Doc. No. 10), hereby files his Motion
  9 for Approval of (1) Distribution Plan; (2) Rising Tide Distribution Methodology; (3)
 10 Proposed Interim Distribution; and (4) Notice of Distribution Plan (the “Motion”).
 11 I.         INTRODUCTION
 12         The Receiver has conducted a thorough evaluation of the pre-Receivership
 13 activities in this case which has revealed that a fraudulent scheme orchestrated by its
 14 former CEO Brendan Ross was run through the Receivership Entities from inception.
 15 Among other things, the scheme involved misrepresentations to investors, over-stated
 16 valuations of assets, and misappropriated funds, all of which had the impact of harming
 17 the Receivership Entities to the detriment of the investors and ultimately turning the
 18 operations into an insolvent Ponzi scheme. The results of the Receiver’s investigation are
 19 set forth in detail in the Report Regarding the Investigation of the Receivership Entities’
 20 Business Conduct and Recommendations Regarding Distributions dated November 13,
 21 2020, attached to the Declaration of Bradley Sharp as Exhibit “1” (the “Report”).
 22         The Receiver’s Report focuses on the conduct of (i) DLI, which acted as the
 23 investment manager and is the defendant in this civil action; (ii) DLI Capital, which
 24 received capital from the Feeder Funds; with its subsidiaries DLIA and DLIAB, both of
 25 which made loans and investments to borrowers, as further described below (collectively
 26 the “Master Fund”); and (iii) DLIF, which solicited investment from U.S. based investors.
 27 Investment was also sought from non-U.S. investors DLIFF, a Cayman Islands exempted
 28                                       1
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  1 company.         While DLIFF is one of the Receivership Entities, the liquidation and
  2 distribution of its assets is subject to a separate Cayman Islands liquidation proceeding,
  3 which proceeding is governed by Cayman Islands law and is subject to the supervision
  4 of the Grand Court of the Cayman Islands.
  5            Because of the vast discrepancy between the stated value of the assets at the start
  6 of the Receivership and their true value, claimants cannot be made whole from the
  7 available assets. The Receiver faces a challenging decision of how to allocate the
  8 available assets amongst the claimants. Mindful of the principle that “equality is equity,”1
  9 the Receiver has evaluated the different possible approaches to distribution to attain the
 10 greatest equity in this case.
 11            The Receiver has run a thorough claims process and has undertaken a review of
 12 the claims submitted and the impact of different distribution models on the creditor body
 13 to assist him in fashioning a distribution plan in this case that is equitable under the
 14 circumstances. The following classes of Claimants have asserted claims against the
 15 Receivership Estate: Administrative Claims2; Priority Claims; DLIFF through its joint
 16 official liquidators in the pending Cayman liquidation proceeding; DLIF Administrative
 17 Claims; DLIF Investors; General Unsecured Creditor Claims; Indemnity Claims; and
 18 Counter-Party Claims. A copy of the Receiver’s proposed Distribution Plan is attached
 19 to the Sharp Declaration as Exhibit “2” and, by this Motion, the Receiver requests
 20 approval of the Distribution Plan. The Plan recommends a priority of distributions from
 21 the Receivership Estate fund to the following classes of claimants: Administrative Claims
 22 (Class 1); Priority Claims (Class 2); DLIFF (Class 3) to be shared on a pro rata basis
 23 with DLIF Administrative Claims (Class 4A) and claims of DLIF Investors (Class 4B);
 24
 25
      Cunningham v. Brown, 265 U.S. 1 (1924).
      1
 26 2
      Capitalized terms not defined in this Motion, shall have the respective meanings
 27 assigned to them in the proposed Distribution Plan attached to the Sharp Declaration
    as Exhibit “2.”
 28                                       2
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF RECEIVER FOR APPROVAL
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  1 General Unsecured Creditor Claims (Class 5); Indemnity Claims (Class 6); and Counter-
  2 Party Claims (Class 7).
  3            The Plan proposes a distribution methodology to Class 4 DLIF Investors that is
  4 based upon an equitable pro rata methodology called Rising Tide as set forth herein.
  5 Without consideration of any additional assets that might arise from litigation efforts, the
  6 Receiver estimates that the aggregate recovery to the           DLIF Investors – from a
  7 combination of Pre-Receivership Returns and distributions under the proposed Plan –
  8 will on average be approximately 30.53% of the dollars invested in connection with the
  9 $150 million Interim Distribution.3 To assist the Court and interested parties in evaluating
 10 the Distribution Plan, the Receiver has analyzed the claims under the two most common
 11 equitable pro rata distribution models (Rising Tide and Net Investment), and has also
 12 analyzed the claims under a Last Statement methodology. Fortunately, the results of this
 13 analysis show that the vast majority (64.8%) of the DLIF Investor claimants fare better
 14 under one method, the Rising Tide method, which the Receiver also has concluded is the
 15 most equitable in the case. Since the Receiver’s analysis shows that 592 out of 914 DLIF
 16 Investors with Allowed Claims will receive a greater distribution under the Rising Tide
 17 methodology and the facts and circumstances of this case support the use of the Rising
 18 Tide method, the Receiver has concluded that this is the most equitable methodology for
 19 distribution in this case to Class 4 DLIF Investors.
 20            In summary, this Motion requests:
 21            1. Approval of the Distribution Plan attached to the Sharp Declaration as Exhibit
 22               “2”;
 23            2. Approval of the Rising Tide methodology of distribution to the DLIF Investors
 24               in Class 4B;
 25
 26
 27   3
       The Receiver hopes to achieve a 50% return to investors in subsequent distributions
      as he continues to collect additional funds.
 28                                         3
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  1         3. Approval of the proposed interim distribution of $150 million pursuant to the
  2            terms of the proposed Distribution Plan; and
  3         4. Approval of the form of notice of this Motion.
  4 II.     STATEMENT OF FACTS
  5         A. Procedural History
  6         The SEC filed a complaint against DLI on March 22, 2019, alleging fraud by DLI
  7 in violation of various federal securities law, including Sections 206(1) and 206(s) of the
  8 Advisors Act, Section 10(b) of the Exchange Act and Rule 10(b)(6), and Section 17(a) of
  9 the Securities Act, and Section 207 of the Advisers Act (the “Complaint”). The SEC
 10 alleges in the Complaint that “this matter concerns a multi-year fraud perpetrated by
 11 Defendant DLI, a registered investment adviser, through its then-principal, Brendan
 12 Ross, which resulted in approximately $11 million in over-charges of management and
 13 performance fees to fund investors, and the inflation of DLI’s private funds’ returns.”
 14         The Receiver was appointed as receiver over the Receivership Entities by order
 15 entered on April 1, 2019. A qualified settlement fund (“QSF”) was established by
 16 operation of law pursuant to Internal Revenue Service Reg. §1.468B-2(k)(2) on the date
 17 of commencement of the Receivership, or April 1, 2019, and the Receiver has filed a QSF
 18 tax return for the Receivership stub period of April 1, 2019 through December 31, 2019,
 19 consistent with the provisions of Treasury Regulation § 1.468B(1)(c) and based on his
 20 understanding that criteria mandating the establishment of a QSF were present in this
 21 case.
 22         On August 11, 2020, Brendan Ross, the former chief executive officer (“Ross” or
 23 “CEO”) of DLI, was arrested by special agents of the FBI following a grand jury
 24 indictment on ten counts of wire fraud filed July 30, 2020. The indictment charges that
 25 “[b]eginning no later than in or about December 2013, and continuing to in or about
 26 March 2019 . . . defendant Ross, and others known and unknown to the Grand Jury,
 27 knowingly with the intent to defraud, devised, participated in, and executed a scheme to
 28                                       4
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  1 defraud the [f]unds, their investors, and Purchaser 1 as to material matters, and to obtain
  2 money and property from the victims by means of material, false and fraudulent
  3 pretenses, representations and promises, and the concealment of material facts.”4 Further,
  4 “between April 2014 and January 2018, as a result of false and fraudulent monthly reports
  5 that Ross caused Company 1 to prepare, Ross caused the fund’s monthly asset values to
  6 be cumulatively inflated by over $300 million.”5
  7            The SEC has also filed a civil complaint against Ross in the United States District
  8 Court for the Central District of California alleging Ross defrauded investors of DLI, and
  9 seeking disgorgement of all funds received from his illegal conduct and civil penalties.
 10 The SEC alleges Ross engaged in fraud as an investment adviser; committed fraud in
 11 connection with the purchase and sale of securities; and filed false registration forms with
 12 the SEC. The civil enforcement action alleges that Ross orchestrated an intricate, multi-
 13 year fraud by inflating the value and returns for an investment position held by the
 14 investment funds, starting in or around early 2014 through March 2019.6
 15            B. Receiver’s Investigation and Fraud Findings
 16            The Receiver and his professionals have investigated the pre-Receivership
 17 business activities of the Receivership Entities as well as the sources and uses of cash
 18 paid into the Receivership Entities. The results of his investigation, set forth in detail in
 19 the Report attached as Exhibit “1,” reveal fraudulent activity from the inception that led
 20 DLIF Investors to invest in the same pool of assets, while their funds were commingled
 21 with each other and with proceeds of the loan portfolios held by the Receivership Entities.
 22 The Receiver’s investigation has uncovered a pervasive fraud that morphed into a Ponzi
 23
 24   United States of America v. Brendan Ross, aka “Brandon Rosen,” Case No. 2:20-cr-
      4

    00327-CSF, United States District Court, Central District of California, Indictment, at
 25 ¶19.
    5
      Id. at ¶ 20(d)(iii).
 26 6
      See Securities and Exchange Commission v. Brendan Matthew Ross, Case No. 2:20-
 27 cv-07202, United States District Court, Central District of California, Dkt. No 1, at ¶¶
    4, 6, 8-10.
 28                                     5
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF RECEIVER FOR APPROVAL
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  1 scheme as the fraud and commingling of funds grew. There are multiple factors revealing
  2 that the fraud turned into a Ponzi scheme, including but not limited to the fact that
  3 substantial redemptions and distributions were financed by fundraising efforts and paid
  4 from the commingled funds of similarly situated defrauded victims. By early-2016 at the
  5 latest DLIF lacked sufficient assets to repay the capital invested by the DLIF Investors.
  6 The Ponzi scheme factors are addressed in the Report for purposes of providing the full
  7 picture of the nature and extent of the fraud. The Receiver is not seeking a judicial
  8 determination of a Ponzi scheme at this time, but reserves the right to do so if and when
  9 such a finding becomes necessary.
 10            The Receiver has concluded that the actions of Ross were fraudulent and led to
 11 substantial misrepresentations made to DLIF Investors from the outset. Ross and DLI
 12 then invested the funds in risky investments that led to those losses. Those losses in turn,
 13 impacted the investors who will suffer cash losses totaling $250.7 million as of March
 14 31, 2019, based on the shortfall between the amount of net invested capital and the
 15 estimated future distributions to investors (“Aggregate Investor Cash Losses”).7
 16         Some of the more critical factual findings set forth in the Report are as follows:
 17         1. Pervasive fraud and misrepresentations to investors existed in the operations of
 18            the U.S. Receivership Entities since inception.

 19         2. Both earlier investors who received a return of some or most of their principal
               investment and more recent investors who did not receive any cash back were
 20            similarly situated as they shared in the same investment assets that were part of
 21            the same investment scheme in which their funds were commingled with each
               other and with proceeds from the loan portfolios.
 22
 23         3. Records of the Receivership Entities show 952 investor accounts with total
               investor NAV of $757.5 million across the two Feeder Funds as of November 30,
 24            2018, the last period for which the books were closed.
 25
 26
 27   7
        This amount does not account for any lost interest, lost opportunities, excess taxes,
      or other damages suffered by investors.
 28                                          6
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF RECEIVER FOR APPROVAL
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  1     4. Excluding DLI's investment account and one of Ross's trust's investment accounts,
  2        the total net invested capital was $538.5 million as of March 31, 2019.

  3     5. While some of the counterparty loans made by the Receivership Entities were
           profitable (though several of those loans generally did not generate returns close
  4        to what was represented), the Receiver estimates that there was an aggregate
  5        underreported allowance for doubtful accounts and bad debt expense of
           $501.4 million relative to the obligations of loan counterparties as of March 31,
  6        2019 (“Net Loan Losses”) on account of the overstated nature of the loan portfolio
  7        and the generally high risk investments, many of which varied from the type and
           nature of investments promised to investors. In total, Aggregate Investor Cash
  8        Losses are estimated at $250.7 million as of March 31, 2019.
  9
        6. Of the $1.7 billion in funding for loans to counterparties, only $465.2 million has
 10
           been repaid in full, with interest, as of July 31, 2020. The $72.9 million return on
 11        these fully liquidated loans is insufficient to offset the realized and expected
           shortfall totaling $305.6 million on funding of $1.3 billion for unrecovered loans.
 12
           As of July 31, 2020, a total of $232.6 million in principal funding remains
 13        unrecovered when including the $72.9 million return on fully liquidated loans.
           The Receiver estimates that only $123.5 million of that amount will be recovered.
 14
           There are also significant expenses that have been incurred in order to allow for
 15        the estimated future recoveries.
 16     7. Other than with respect to the division of interests in the Master Fund assets
 17        between the two Feeder Funds, no investor held a direct or secured interest in any
           particular assets of the Receivership Entities.
 18
        8. The funds used for payments to any given investor were commingled with other
 19
           investor funds and, at times, commingled with borrower payments received in
 20        connection with the various counterparty loans that were made. Given the
           commingling of funds and the fungibility of money, it would be a burdensome and
 21
           costly task to make a specific determination as to whether the source of any given
 22        payment made to a particular investor was attributable to funds from later
           investors or to a payment from a loan portfolio.
 23
 24     9. The accounting records and the account statements delivered to investors, do not
           reflect appropriate reserves for uncollectable assets and include inflated “mark-
 25        ups” relative to appropriate asset valuations, both of which result in a
 26
 27
 28                                      7
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF RECEIVER FOR APPROVAL
           OF: DISTRIBUTION PLAN; RISING TIDE DISTRIBUTION METHODOLOGY WITH RESPECT TO DLIF
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  1            misrepresentation, value of assets and net worth as well as overstated net asset
  2            values (“NAV”).8

  3         10. 80% of the payments made to investors since inception, either as redemptions or
               distributions, were derived from funds from later or existing investors (including
  4            participation funds from DL Global, Ltd.) rather than from legitimate and
  5            profitable returns from the loans to counterparties.
  6         11.DLI made net payments and allocations of $31.4 million directly or indirectly to
  7            or for the benefit of Ross.

  8         12.A total of $647 million was loaned to counterparties in which Ross had or may
               have had a financial interest. For the purposes of the Report, the Receiver
  9            estimates an underreported allowance for doubtful accounts and bad debt expense
 10            of $343.7 million relative to the obligations of these loan counterparties to the
               Fund as of March 31, 2019. Ross continued to direct new loans to counterparties
 11
               even when the losses or poor financial condition of the loan portfolio was evident.
 12
            13. 853 DLIF investors received $89.3 million in cash in excess of their investment.
 13
            14.Since at least April 30, 2016 forward, DLIF was insolvent9 when limiting the
 14
               liability to its investors to the amount of net invested capital. The fraud and
 15            increasingly poor counterparty loans resulted in a financial situation where DLIF
               was unable to return all invested capital to its investors, let alone generate real
 16
               profits sufficient enough to keep up with the returns paid and/or reported to
 17            investors.
 18         15.Investors were subject to the inflated valuations reported by DLI, the
 19            misrepresentations made to investors regarding the nature of the investments made
               with their funds, and the commingling of their funds with other investor funds and
 20            loan portfolio proceeds. They were also all subject to the misappropriation of
 21            funds and other misconduct by Ross which was a significant cause of the Funds
               incurring substantial unrecognized losses.
 22
 23
 24   The net asset value of the Master Fund is calculated by adding the fair value of its
      8

    investments, cash, and other assets and subtracting its liabilities in accordance with
 25 GAAP.
 26 9 As used further in the Report, the term “insolvent” refers to the circumstance where
    the Funds’ lacked the financial capacity to pay the restitution claims of the investors
 27 and the fact that the Funds were operating with unreasonably small capital. See Report
    at p. 41.
 28                                       8
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  1         C. DLIFF Cayman Island Proceeding and Claims Stipulation
  2         DLIFF, a Cayman Islands Exempted Company formed in 2016, is the offshore
  3 investment entity that solicited overseas investor funds. Prior to a restructuring of the
  4 fund structure managed by DLI in October 2016, all domestic and foreign investors
  5 invested through DLIF, which then invested its funds first in two holding companies,
  6 DLIAB and DLI Assets. In October 2016, DLI moved to a two-feeder fund structure with
  7 the formation of DLIFF, the offshore limited partnership in the Cayman Islands, along
  8 with DLIF serving as the onshore fund. DLI Capital served as a Master Fund through
  9 which investor funds solicited through DLIF and DLIFF were contributed and deployed.
 10 DLI formed DLIFF to solicit investments from non-United States investors. The funds
 11 invested into the Feeder Funds were contributed to DLI Capital as both debt and equity.
 12 That capital was, in turn, contributed to DLI Capital’s wholly owned subsidiaries DLIA
 13 and DLIAB, DLIA and DLIAB thereafter loaned these funds to putative third party
 14 borrowers. These borrowers in turn were generally lenders which made loans or
 15 extensions of credit to others (the “subsequent loans”).
 16         The new structure was formalized in two Loan and Security Agreements each
 17 dated as of October 1, 2016 (“LSA”), one with DLIF as lender and one with DLIFF as
 18 lender, and with Millennium Trust Company, LLC as the custodian for the benefit of each
 19 of the lenders. Under each of the LSAs, the Feeder Funds agreed to lend money to DLI
 20 Capital as a borrower under a revolving loan facility. DLI Capital in turn would use the
 21 invested funds to make equity investments in two subsidiaries DLI Assets and DLIAB,
 22 and those entities typically made loans to third party borrowers (the “subsequent loans”
 23 referred to above) generally on a secured basis. The LSAs by their terms granted DLIF
 24 and DLIFF security interests in the loans and equity investments made by DLI Capital.
 25 The collateral for the loans under the LSAs is described as all the “Collateral Assets” of
 26 DLI Capital, including all the loans made and collateral received by DLI Capital, along
 27 with DLI Capital’s ownership interests in any subsidiaries, funds in a control deposit
 28                                       9
       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF RECEIVER FOR APPROVAL
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  1 account for the deposit of the underlying loan payments received by DLI Capital, and all
  2 other assets of DLI Capital.
  3        DLIF and DLIFF also entered into an Intercreditor Agreement dated as of
  4 September 30, 2016, which provided for the lenders DLIF and DLIFF to have pari passu
  5 rights in the loans made to DLI Capital. The pari passu rights were stated to extend to
  6 the notes in favor of DLIF and DLIFF by DLI Capital, the collateral for the notes, and all
  7 payments and collections or proceeds of enforcement of the loans received by either DLIF
  8 or DLIFF.
  9        Shortly after his appointment, the Receiver, upon Court approval, on behalf of DLI
 10 Capital, passed a unanimous resolution to place DLIFF in voluntary liquidation under the
 11 applicable laws of the Cayman Islands. The voluntary liquidators subsequently filed an
 12 application by way of a petition in the Grand Court of the Cayman Islands (the “Cayman
 13 Court”) for the liquidation to continue under the supervision of the Cayman Court. On
 14 July 25, 2019, the Cayman Court entered a Supervision Order (the “Supervision Order”)
 15 converting the voluntary liquidation to an official liquidation, and Bradley D. Sharp of
 16 Development Specialists Inc. and Christopher D. Johnson of Chris Johnson Associates
 17 Ltd. were appointed and currently serve as the Joint Official Liquidators (“JOLs”) of
 18 DLIFF. The liquidation of DLIFF pursuant to the Supervision Order under the laws of the
 19 Cayman Islands is hereafter referred to as the “DLIFF Liquidation”).
 20        On August 22, 2019, the JOLs sent a notice to the creditors and shareholders of
 21 DLIFF of a meeting of creditors and contributories. Creditors wishing to attend the
 22 meeting were asked to submit a proof of debt form to the JOLs in advance of the
 23 meeting. All claims against and interests in DLIFF are to be pursued directly in the
 24 DLIFF Liquidation, in accordance with the laws of the Cayman Islands, including
 25 without limitation, Order 16 of the Companies Winding Up Rules 2018 and the
 26 Companies Law (2020 Revision) applicable to liquidation proceedings in that
 27
 28                                      10
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF RECEIVER FOR APPROVAL
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  1 jurisdiction. This Distribution Plan does NOT seek relief relative to the claimants or
  2 shareholders of DLIFF.10
  3         The Receiver, in his capacity as U.S. Joint Official Liquidator in the Cayman
  4 Proceeding, and the Cayman JOL, Christopher D. Johnson (the “Cayman JOL”), agreed
  5 to a conflict resolution protocol (the “Protocol”) that was submitted to the Cayman Court
  6 and was approved by that court on July 16, 2020. This Court subsequently also
  7 approved the Protocol. (Doc No. 293).
  8         Utilizing the Protocol, the Receiver and the Cayman JOL negotiated a stipulation
  9 regarding the amounts for DLIFF and DLIF in the Receivership case for purposes of
 10 determining the respective allocation of funds between DLIFF and DLIF in connection
 11 with the Distribution Plan (the “Claims Stipulation”), copy of which is attached to the
 12 Sharp Declaration as Exhibit “3.”
 13         The Receiver has filed a motion concurrently herewith seeking Court approval of
 14 the Claims Stipulation which provides, in relevant part, that:
 15            1. DLIF’s net investment of cash into the Master Fund is $359,589,934 (the
 16               "DLIF Claim") and DLIFF’s net investment of cash into the Master Fund
 17               is $158,197,708 (the "DLIFF Claim").
 18            2. The funds distributed to DLIFF pursuant to the Claims Stipulation and
 19               the Distribution Plan (the “DLIFF Distribution”) shall be distributed to
 20               the JOLs and shall be held by the JOLs for administration and distribution
 21               in the Cayman Liquidation in accordance with the laws of the Cayman
 22               Islands.
 23
 24
 25
 26
      Any investors who originally invested in DLIF and later transferred their account
      10

 27 to DLIFF are deemed DLIFF claimants and are not to receive any distributions
    pursuant to this Distribution Plan.
 28                                     11
       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF RECEIVER FOR APPROVAL
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  1           3. DLIFF’s creditors and stakeholders shall not be allowed duplicate claims
  2              in the Receivership Case and shall not receive a distribution directly in
  3              the Receivership Case.
  4           4. Claims allowance for the investors and creditors of the U.S. Receivership
  5              Entities will be made in accordance with the U.S. law, and shall not be
  6              paid from the DLIFF Distribution.
  7           5. The Receiver shall make an advance on the DLIFF Interim Distribution
  8              in the amount of $10 million upon Court approval of the Claims
  9              Stipulation.
 10           6. Except for the provision regarding the Interim Distribution, the remainder
 11              of the provisions of the Claims Stipulation is contingent upon approval of
 12              this Distribution Plan.
 13        The DLIFF Claims Stipulation provides resolution and certainty as to the allocation
 14 of funds as between DLIF and DLIFF.
 15       D. Receiver’s Conclusions Set Forth in Report
 16        1. Under U.S. law, each investor in DLIF (each a “DLIF Investor”) is similarly
 17           situated and holds the same type of claim for restitution on account of that
              fraud. The fraud was a substantial factor causing the losses of DLIF Investors.
 18
 19        2. Irrespective of whether a Ponzi scheme exists, the Distribution Plan should be
              based on the principal that for DLIF Investors subject to U.S. rules, similarly
 20           situated investors must be treated alike to preserve equity and fairness and that
 21           all fraud victims should be treated alike, as is required by applicable U.S. law.
              The pervasiveness of the fraud and the commingling of assets are sufficient to
 22           warrant the pooling of the assets and liabilities for purposes of distributions to
 23           be made under any Distribution Plan.
 24        3. It is unlikely that investors will be repaid in full. It would be inequitable as a
              matter of U.S. law to distribute assets based on an assumption that an investor
 25
              should recover both fictitious profits and principal based on a benefit of
 26           bargain basis since (a) reports of returns were made to all investors based on
 27           misrepresented NAV figures; and (b) earlier investors were repaid at the
              expense, and to the detriment, of the similarly situated later investors.
 28                                        12
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF RECEIVER FOR APPROVAL
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  1
             4. The best way to put the DLIF Investors on equal footing is to treat the prior
  2             payments made to these investors, whether as distributions or redemptions,
  3             as a return of principal, so that the DLIF Investors who receive a distribution
                through the Distribution Plan may share on a pro rata and equitable basis.
  4
  5          5. The assets and liabilities of the Receivership Entities must be pooled together
                in order to equitably and sensibly account for all of the assets of the
  6             Receivership Entities and to fairly make distributions to DLIF Investors and
  7             other creditors of the Receivership Entities who will receive a distribution
                pursuant to the Distribution Plan.11
  8
  9          6. Because Investors have received differing levels of returns, a distribution
                method that seeks to equalize returns to the Investors would be most equitable.
 10
      III.   SUMMARY OF DISTRIBUTION PLAN
 11
             A. Classes of Claimants
 12
             The Receiver’s Distribution Plan divides the classes of claimants into the following
 13
      general categories for the following priority treatment:
 14
                   Class 1:     Administrative Professional Fees and Claims: To be paid in full
 15
                                up to the Allowed Amount of the Claims.
 16
                   Class 2:     Priority Claims: To be paid in full up to the Allowed Amount
 17
                                of the Claims.
 18
                   Class 3:     DLIFF’s Allowed Claim pursuant to DLIFF Claims
 19
                                Stipulation: To share the funds remaining after payment of
 20
                                Classes 1 and 2, to be split on a pro rata basis with Class 4
 21
                                DLIF Investor Claims pursuant to the DLIFF Claims
 22
                                Stipulation.
 23
                   Class 4A:    DLIF Administrative Claims will be paid up to the full amount
 24
                                of such Allowed DLIF Administrative Claims from
 25
 26
 27    The only exception that arises is with respect to the assets and liabilities of DLIFF,
      11

      which are subject to a separate liquidation proceeding in the Cayman Islands.
 28                                        13
       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF RECEIVER FOR APPROVAL
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  1                            distributions made in respect of the DLIF Claim under the
  2                            Claims Stipulation.
  3               Class 4B:    DLIF Investor Claims: To share the funds remaining after
  4                            payment of Classes 1 and 2, to be split on a pro rata basis with
  5                            Class 3 DLIFF Claim pursuant to the Claims Stipulation.
  6                            Distribution to Class 4 Investors shall be made pursuant to the
  7                            Rising Tide methodology.
  8               Class 5:     Allowed General Unsecured Creditors: To receive distribution
  9                            only upon payment in full of Classes 1, 2, 3 and 4, and to be
 10                            paid pro rata with Classes 6 and 7.
 11               Class 6:     Allowed Indemnity Claims: To receive distribution only upon
 12                            payment in full of Classes 1, 2, 3, and 4, and to be paid pro rata
 13                            with Classes 5 and 7.
 14               Class 7:     Allowed Counter-Party Claims: To receive distribution only
 15                            upon payment in full of Classes 1, 2, 3, and 4, and to be paid
 16                            pro rata with Classes 5 and 6.
 17         As provided under the Distribution Plan, the Receiver has the right to make and
 18 file objections to Claims. The Receiver disputes, or may dispute, a number of Claims,
 19 particularly with respect to Indemnity Claims, Counter-Party Claims, and Claims of those
 20 who were insiders of the Receivership Entities or were aware of sufficient facts that their
 21 receipt of transfers from the Receivership Entities may be subject to Avoidance Actions.
 22 The Distribution Plan provides that the Receiver shall file objections to Claims no later
 23 90 days following Court approval of the Plan. The Receiver may also serve written notice
 24 (the “Claims Objection Reservation Notice”) to any claimant holding or asserting a claim
 25 against the Receivership Estate which the Receiver in his business judgment believes may
 26 be subject to objection and which may be disallowed in full or in part. In such event, the
 27 Receiver shall reserve the full amount of any Disputed Claim pending final allowance or
 28                                       14
       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF RECEIVER FOR APPROVAL
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  1 disallowance of such claim in the event the Receiver makes a distribution prior to
  2 resolution.
  3         The major components of the Distribution Plan are as follows.
  4         B. Assets for Distribution to Claimants
  5            1. Pooled Assets
  6         The QSF contains all assets of the Receivership Entities, including any litigation
  7 proceeds that may be paid to the Receiver on account of any Cause of Action, Third
  8 Party Claim, and any proceeds of litigation brought on behalf of the Master Fund or any
  9 other Receivership Entity other than DLIFF or DLIF. Proceeds of DLIF Avoidance
 10 Actions are property of the QSF but shall be allocated exclusively to Class 4 as set forth
 11 in this Distribution Plan. Proceeds of Feeder Fund Litigation Assets are not allocated in
 12 this Distribution Plan and the allocation of any such assets shall be subject to a separate
 13 agreement or other resolution between the Receiver and the Cayman JOL.
 14         Assets of the Receivership Entities other than the Feeder Fund Litigation Assets
 15 and the DLIF Avoidance Actions will be pooled and will be used to make distributions
 16 on Allowed Claims pursuant to the terms of this Distribution Plan. All Allowed Claims
 17 to be paid pursuant to this Distribution Plan shall be paid from the assets in the QSF.
 18 Allocations of assets in the QSF between Classes 3 and 4 will be made pursuant to the
 19 terms of the Claims Stipulation as incorporated in this Distribution Plan.
 20         All of the assets for the Receivership Entities are now in the QSF, as will be any
 21 litigation proceeds received from the results of any litigation claims filed by the Receiver,
 22 other than as set forth in the Distribution Plan and the Claims Stipulation. The Receiver
 23 believes that the pooling of assets is proper as set forth in the Distribution Plan, and he is
 24 not aware of any basis, in equity or otherwise, to separate any particular assets for any
 25 particular claimant. No particular funds or assets were segregated for a single-purpose
 26 entity or for a particular claimant. The pooled assets shall be distributed on the priority
 27 basis and pursuant to the distribution methodology set forth below.
 28                                        15
       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF RECEIVER FOR APPROVAL
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  1            2. DLIF Avoidance Actions
  2         Any proceeds of litigation on account of DLIF Avoidance Actions arising from
  3 transfers made by DLIF shall be segregated for the benefit of Class 4 to be distributed to
  4 the DLIF Investors, and all associated costs with the Avoidance Actions shall be treated
  5 as Class 4A Claims.
  6         C. Elimination of Intercompany Claims
  7         With the exception of the claims allowed under the Claim Stipulation, all other
  8 Intercompany Claims shall be deemed disallowed under the terms of the Distribution
  9 Plan. Distributions on account of DLIF Investor Claims shall be distributed through Class
 10 4B as set forth in the Distribution Plan.
 11         D. Class 1: Administrative Claims
 12         Class 1 consists of the Administrative Claims which shall be paid as a first
 13 priority. It is contemplated these Administrative Claims will consist primarily of the
 14 Receiver’s fees and costs and the fees and costs of professionals retained by the
 15 Receiver. All Allowed Professional Claims and Allowed Administrative Claims shall be
 16 paid up to the full amount of their Allowed Claims, as approved by the Court. No
 17 distribution will be made to Classes 3, 4 or 5 until such time as Class 1 Claims have
 18 been paid in full or sufficient reserves are held to ensure payment in full to Class 1
 19 Claimants. Disputed Class 1 Claims will be reserved for in their full amounts unless
 20 otherwise estimated in accordance with this Distribution Plan.
 21         E. Class 2: Priority Claims
 22         Class 2 consists of the Priority Claims which shall be paid in full. The Priority
 23 Claims will likely consist substantially, if not entirely, of tax claims at both the federal
 24 and state levels attributable to the sale and disbursement of assets of the estate from the
 25 QSF (“Priority Tax Claims”). The Plan does not provide any tax advice for individual
 26 claimants, and all Claimants are encouraged to consult their own tax advisor regarding
 27 any tax consequences of the Plan.
 28                                       16
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  1         No distribution will be made to Classes 3, 4 or 5, 6 and 7 until such time as Class
  2 2 Claims have been paid in full or sufficient reserves are held to ensure payment in full
  3 to Class 2.
  4         F. Class 3: DLIFF’s Allowed Claim
  5         Class 3 consists only of the DLIFF claim as set forth in the Claims Stipulation,
  6 which shall share pro rata with Class 4 claims pursuant to the terms of the Claims
  7 Stipulation. Distribution on account of Class 3 and 4 shall be made only after Classes 1
  8 and 2 have been paid in full or sufficient reserves are held to ensure payment in full to
  9 Classes 1 and 2.12 The funds paid to DLIFF pursuant to the Plan shall be paid to the
 10 Cayman JOLs and shall be distributed in the Cayman proceeding pursuant to Cayman
 11 law. To the extent that an advance is paid to DLIFF pursuant to the Claims Stipulation in
 12 advance of the First Interim Distribution, the amount distributed to DLIFF in the First
 13 Interim Distribution shall be adjusted to account for the amount previously paid.
 14         G. Class 4A: DLIF Administrative Claims
 15         Allowed DLIF Administrative Claims, including Allowed Professional Claims
 16 related to DLIF, shall be paid up to the full amount of such Allowed DLIF
 17 Administrative Claims from distributions made in respect of the DLIF Claim under the
 18 Claims Stipulation. Disputed Class 4A Claims will be reserved for in their full amounts
 19 from amounts that are distributed in respect of the DLIF Claim under the Claims
 20 Stipulation unless otherwise estimated in accordance with this Distribution Plan.
 21         H. Class 4B: DLIF’s Claim
 22
 23
 24    The Receiver has requested herein authority to make an interim distribution of
      12

    $150 million to DLIF Investors and to DLIFF pursuant to the terms of the proposed
 25 Distribution Plan. Irrespective of approval of the Plan at this time, the Receiver has
    filed a separate motion to make an interim distribution of $10 million to DLIFF on
 26 account of its secured claim pursuant to the Claims Stipulation. The Receiver would
    reserve $22,730,414 for the benefit of the Class 4 DLIF Investors on account of their
 27 secured claim if the $10 million interim distribution to DLIFF is approved in advance
    of approval of the Plan.
 28                                      17
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  1         Class 4B consists of the DLIF Investors who hold Allowed Claims, which shall
  2 share pro rata with the Class 3 Claim. Distribution on account of Class 4B shall be made
  3 only after Classes 1, 2 and 4A have been paid in full and DLIFF has received its pro rata
  4 distribution pursuant to the Claims Stipulation. The DLIF Investors with Allowed Claims
  5 will be treated as a single class because they are similarly situated in that the funds of the
  6 DLIF Investors were commingled in various transactions and entities. The DLIF Investor
  7 Claims will be calculated, and distributions will be made, as follows:
  8                1.    Claims Allowance: DLIF Investor Claims will be calculated on the
  9         basis of their Total Investment,13 which precludes claims for purported “profits,”
 10         “interest,” contractual default provisions, punitive damages, etc., as adjusted
 11         pursuant to the distribution methodology set forth herein.
 12                2.    Disputed DLIF Claims: Disputed Class 4B Claims will be reserved
 13         for in their full amounts pending resolution of the dispute, unless otherwise
 14         estimated in accordance with the Distribution Plan.
 15                3.    Distribution Methodology: Distributions will be made to DLIF
 16         Investors on a Rising Tide basis—that is, distributions will be made in an attempt
 17         to equalize the percentage of invested funds that are returned to each DLIF Investor
 18         without regard for whether those funds were returned by the perpetrators of the
 19         fraud pre-Receivership or paid under the Distribution Plan. This method provides
 20         for distributions to those investors who have yet to recover as much as all other
 21         investors. Investors who previously reached a recovery percentage exceeding the
 22         new minimum recovery percentage will not receive a distribution until additional
 23         funds become available for distribution to investors and such funds are sufficient
 24
 25   “Total Investment” is defined in the Plan as the total amount of cash invested by a
      13

    DLIF Investor. Courts generally find that it is not equitable to include fictitious
 26 profits in the claim amount. See, e.g. CFTC v. Equity Financial Group, LLC, 2005
    U.S. Dist. LEXIS 20001, at *77 (D.N.J. Sept. 2, 2005) (“The Court agrees that
 27 recognizing profits or other earnings in claims for distributions would be to the
    detriment of later investors and would therefore be inequitable.”).
 28                                      18
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  1            enough to increase their recovery percentage to the levels of those investors that
  2            have already reached a higher recovery percentage. The calculations shall be made
  3            as follows:
  4
  5   Step 1          Identify Aggregate Available (“A”). Aggregate Available is the ratable distribution on
                      the DLIF Claim as set forth in the Claims Stipulation contemplated based upon an
  6                   assumed initial $150,000,000 aggregate distribution to Classes 3 and 4 under this Plan.
                      .
  7   Step 2          Allocate Aggregate Available between Class 3 and Class 4 pursuant to the terms of the
                      Claims Stipulation. With an assumed $150,000,000 initial distribution, the distribution
  8                   to Class 3 would be $45,828,935 (“A1”) and the distribution to Class 4 would be
                      $104,171,065 (“A2” or “DLIF Estimated Aggregate Distribution”).
  9
      Step 3          Identify Total Invested (“B”). Total Invested (total pre-Receivership subscriptions)
 10                   includes all cash subscriptions and non-cash transfers paid in for investors in Class 4
                      during the pre-Receivership time period.
 11
      Step 4          Identify Total Returned (“C”). Total Returned (total pre-Receivership distributions)
 12                   includes all cash redemptions, cash distributions, non-cash transfers and non-cash
                      switches paid to investors in Class 4 during the pre-Receivership time period.
 13
      Step 5          Calculate Net Distribution Percentage (“D”) for Class 4 Claimants. Net Distribution
 14                   Percentage represents, for investors in Class 4 each investor's Total Returned ("C")
                      amount divided by the Total Invested ("B") amount. The formula is D = C / B. This
 15                   represents each investor’s pre-Receivership recovery percentage.

 16   Step 6          The next step requires the benefit of circular or iterative calculations in order to find the
                      equilibrium that sets a minimum recovery percentage for all investors in Class 4 such
 17                   that the DLIF Estimated Aggregate Distribution amount can be distributed to only those
                      investors in Class 4 that have Net Distribution Percentage (or pre-distribution recovery
 18                   percentages) below the minimum recovery percentage and results in those same
                      Underpaid Investors reaching the target minimum recovery percentage. In other words,
 19                   this step identifies which investors in Class 4 should receive what portion of the DLIF
                      Estimated Aggregate Distribution such that lower paid investors are “caught up” by
 20                   reaching a target minimum recovery percentage. The following iterative sub-steps are
                      required until an equilibrium is achieved between all calculations in this step:
 21
                      Determine Underpaid Investors (“E”): Underpaid Investors are those investors in Class
 22                   4 that have a Net Distribution Percentage ("D") that is less than the Aggregate Pro Rata
                      Percentage ("H"). Underpaid investors in Class 4 will receive an allocation of the DLIF
 23                   Estimated Aggregate Distribution equal to an amount that results in a post-distribution
                      recovery percentage that is equal to the Aggregate Pro Rata Percentage (“H”). In this
 24                   case there are 771 Underpaid Investors in Class 4.

 25                   Calculate Total Invested by Underpaid Investors (“F”). Total Invested by Underpaid
                      Investors represents the sum of the Total Invested amounts for each investor in Class 4
 26                   that is determined to be an Underpaid Investor. In this case, the result is $419,131,817.

 27                   Calculate Total Returned to Underpaid Investors (“G”). Total Returned to Underpaid
                      Investors represents the sum of the Total Returned amounts for each investor in Class 4
 28                                              19
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  1                   that is determined to be an Underpaid Investor. In this case, the result is $23,781,472.

  2                   Calculate the Aggregate Pro Rata Percentage (“H”). The Aggregate Pro Rata
                      Percentage is equal to the contemplated DLIF Estimated Aggregate Distribution of
  3                   $104,171,065 plus Total Returned to Underpaid Investors ("G") divided by Total
                      Invested by Underpaid Investors ("F"). The formula is H = ( A + G ) / F. This
  4                   represents the new minimum recovery percentage to be achieved for all Underpaid
                      Investors in Class 4. In this case, the result is 30.53% after running through a series of
  5                   iterative calculations.

  6   Step 7          Calculate the Aggregate Pro Rata Distribution (“I”) to investors in Class 4. The
                      Aggregate Pro Rata Distribution is equal to Total Invested by Underpaid Investors ("F")
  7                   multiplied by the Aggregate Pro Rata Percentage ("H"). The formula is I = F x H. This
                      represents the amount each Underpaid Investor in Class 4 should receive in total,
  8                   between the pre-Receivership recoveries and the contemplated distribution, in order to
                      reach the minimum recovery percentage of 30.53% as calculated above.
  9
      Step 8          Calculate Underpaid Investor’s Allowed Distribution (“J”). For Investors in Class 4,
 10                   Underpaid Investors’ Allowed Distribution amounts are equal to the Aggregate Pro Rata
                      Distribution ("I") minus Total Returned to Underpaid Investors (“G”). The formula is J
 11                   = I – G. This amount represents for investors in Class 4 the Underpaid Investors’
                      portion of the Total Available (“A”) amount. Once these amounts are paid, all Investors
 12                   in Class 4 will have reached at least a 30.53% recovery percentage.

 13                   Calculate the Post-Distribution Recovery Percentage (“K”). The Post-Distribution
                      Recovery Percentage is equal to Total Returned (“C”) plus Underpaid Investor’s
 14                   Allowed Distribution (“J”) divided by Total Invested (“B”). The formula is K = (C + J) /
                      B. This represents the total recovery percentage for each investor after the contemplated
 15                   initial $104,171,065 distribution to Investors in Class 4.
                      .
 16
 17
                     4.     Investor Accounts:
 18
                     a.     When a DLIF Investor holds an interest in multiple accounts—which
 19
               the Receiver will determine from the books and records of the Receivership
 20
               Entities by matching accounts to taxpayer identification numbers (“TIN”)—that
 21
               DLIF Investor’s claims will be aggregated for purposes of calculating the claim
 22
               and allowing a distribution. Such aggregation is equitable because it treats a DLIF
 23
               Investor that held multiple accounts with different Pre-Receivership Returns the
 24
               same as a DLIF Investor who held a single account.
 25
                     b.     For those accounts where a single TIN is used but one account is
 26
               designated as a “trust” account, a retirement account or is for a separate Person,
 27
 28                                              20
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  1        and other account(s) as either a separate “trust” account, or account of another
  2        Person, the accounts will be treated as separate accounts and not be aggregated
  3        when the Receiver reasonably believes those separate accounts and associated
  4        claims represent separate interests. In such circumstance, the separate but related
  5        accounts and associated claims will not be aggregated for purposes of calculating
  6        the claim and distribution amounts for those accounts.
  7              c.     For DLIF Investors who submitted a Proof of Claim that did not
  8        dispute the amount of their Total Investment or their Pre-Receivership Returns as
  9        reflected in Exhibit A to the Proof of Claim but instead disputed the claims
 10        allowance methodology or provided additional material, documentation, or
 11        information that did not dispute the total amount of their Total Investment or their
 12        Pre-Receivership Returns, their claims shall be deemed allowed on a Net
 13        Investment basis in Class 4B without further objection required by the Receiver.
 14              d.     Transferee Accounts that were funded by redemption amounts
 15        transferred from a Full Transferor Account will be allowed in the Net Investment
 16        amount of the Full Transferor Account Claim. The amount of any reported profits
 17        included in the non-cash transfer will be excluded from the claim amount of the
 18        Transferee Account.
 19              e.     Transferee Accounts that were funded from redemption amounts
 20        transferred from a Partial Transferor Account will be allowed as follows: the
 21        portion of such non-cash transfer from the Partial Transferor Account that is
 22        deemed to include reported profits (based upon a pro rata allocation of interest and
 23        profits as identified in the Partial Transferor Account) will be excluded from the
 24        Allowed Claim of the Transferee Account. The amount of profits excluded from
 25        the Claim amount of the Transferee Account will not be deemed a distribution from
 26        the Transferor Account.
 27
 28                                      21
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  1               f.     The Receiver is not responsible for compliance with investors’
  2         individual investment account rules and tax consequences.
  3               5.     Late filed Claims: Claims filed after the Claims Bar Date will be
  4         allowed and paid on a pro rata basis pursuant to the Rising Tide methodology with
  5         the DLIF Investor Claims to the extent that Receiver determines that they did not
  6         timely receive notice of the Claims Bar Date. The Receiver has been unable to
  7         make contact with just two potential DLIF Investors who may submit Late Filed
  8         Claims in the future. The Distribution Plan will include the claim amounts for these
  9         two claimants and will provide for a reserve from the distribution that would
 10         otherwise be paid to Class 4B for these claimants to make distribution if and when
 11         a claim is filed. If no such claims have been filed prior to the time of final
 12         distribution, then the reserved funds shall be released and included in the final
 13         distribution made to DLIF Investors holding Allowed Claims.
 14         I. Class 5: General Unsecured Creditor Claims
 15         Allowed General Unsecured Creditor Claims will share pro rata with Allowed
 16 Class 6 and 7 Claims, but only after the payment or reservation in full of all holders of
 17 Class 1, 2, 3 and 4 Allowed Claims, holders of Allowed Creditor Claims shall be paid
 18 pro rata from the QSF, until paid in full. Current estimates are that holders of Allowed
 19 Creditor Claims will not receive a distribution.
 20         J. Class 6: Indemnity Claims
 21         Allowed Indemnity Claims will share pro rata with Allowed Class 5 and 7 Claims,
 22 but only after the payment or reservation in full of all holders of Class 1, 2, 3 and 4
 23 Allowed Claims, holders of Allowed Indemnity Claims shall be paid pro rata from the
 24 QSF, until paid in full. Current estimates are that holders of Allowed Indemnity Claims
 25 will not receive a distribution. Additionally, the Receiver disputes each of the Indemnity
 26 Claims and anticipates filing objections, if necessary. Indemnity Claims consist of claims
 27 for indemnity by former employees, directors and officers. The Indemnity Claims are
 28                                       22
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  1 unliquidated. To the extent that an Indemnity Claim is Allowed and if funds are available
  2 for distribution after payment of Classes 1-4, holders of Allowed Indemnity Claims shall
  3 be paid pro rata along with Allowed General Unsecured Creditor Claims and Allowed
  4 Counter-Party Claims from the remaining funds in the estate until paid in full.
  5         K. Class 7: Counter-Party Claims
  6         Allowed Counter-Party Claims will share pro rata with Allowed Class 5 and 6
  7 Claims, but only after the payment or reservation in full of all holders of Class 1, 2, 3 and
  8 4 Allowed Claims, holders of Allowed Counter-Party Claims shall be paid pro rata from
  9 the QSF, until paid in full. Current estimates are that holders of Allowed Counter-Party
 10 Claims will not receive a distribution. Additionally, the Receiver disputes each of the
 11 Counter-Party Claims and anticipates objecting to each filed Counter-Party Claim, if
 12 necessary. These Counter-Party claims include those filed by QuarterSpot, Talking
 13 Capital, and Three Line Capital, LLC (FKA Indigo Capital Markets, LLC).14 The
 14 Receiver disputes each of the Counter-Party Claims and anticipates objecting to each
 15 filed Claim. To the extent that a Counter-Party Claim is Allowed and if funds are
 16 available for distribution after payment of Classes 1-4, holders of Allowed Counter-Party
 17 Claims shall be paid pro rata along with Allowed General Unsecured Creditor Claims
 18 and Allowed Indemnity Claims from the remaining funds in the estate until paid in full.
 19
 20
 21 IV.     APPROVAL OF THE DISTRIBUTION PLAN IS APPROPRIATE
 22         A. The Court has Broad Authority to Approve an Equitable Distribution Plan
 23         The Court's power over an equity receivership and to determine appropriate
 24 procedures for administering a receivership is "extremely broad." SEC v. Hardy, 803 F.2d
 25
 26
      There was a protective claim filed by Investment L, but that claim will be
      14

 27 withdrawn under the terms of the confidential settlement with the Investment L
    parties, which this Court approved on November 12, 2020. (Doc. No. 311)
 28                                     23
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  1 1034, 1037-38 (9th Cir. 1986); see SEC v. Basic Energy, 273 F.3d 657, 668 (6th Cir.
  2 2001); SEC v. Elliott, 953 F.2d 1560, 1566 (11th Cir. 1992); SEC v. Lincoln Thrift Ass'n,
  3 577 F.2d 600, 606 (9th Cir. 1978) (“[T]he district court has broad powers and wide
  4 discretion to determine the appropriate relief in an equity receivership.”). This extremely
  5 broad power and broad deference stem from the long-standing principle that the full scope
  6 of a court’s equity jurisdiction should be recognized and applied by the courts. Reebok
  7 Int'l v. Marnatech Enter., Inc., 970 F.2d 552, 561–62 (9th Cir.1992). The primary purpose
  8 of an equity receivership is to promote the orderly and efficient administration of the
  9 estate for the benefit of the creditors. See Hardy, 803 F.2d at 1038. The Hardy court stated
 10 that it would uphold “reasonable procedures instituted by the district court” that promote
 11 the district court’s orderly and efficient administration of the receivership estate for the
 12 benefit of creditors. Id.
 13         The Court has wide latitude when it exercises its inherent equitable power to
 14 approve a plan of distribution of receivership funds. SEC v. Forex Asset Mgmt. LLC, 242
 15 F.3d 325, 331 (5th Cir. 2001) (affirming District Court's approval of plan of distribution
 16 because court used its discretion in "a logical way to divide the money"); Quilling v.
 17 Trade Partners, Inc., 2007 WL 107669, * 1 (W.D. Mich. 2007) ("In ruling on a plan of
 18 distribution, the standard is simply that the district court must use its discretion in a logical
 19 way to divide the money" (internal quotations omitted)). In approving a plan of
 20 distribution in a receivership, "the district court, acting as a court of equity, is afforded
 21 the discretion to determine the most equitable remedy." Forex, 242 F.3d at 332. The Court
 22 may adopt any plan of distribution that is logical, fair, and reasonable. SEC v. Wang, 944
 23 F.2d 80, 83-84 (2d Cir. 1991); Basic Energy, 273 F.3d at 671; Quilling, 2007 WL 107669
 24 at *1; S.E.C. v. Byers, 637 F. Supp. 2d 166, 174 (S.D.N.Y. 2009) (internal quotation
 25 omitted) (collecting cases). S.E.C. v. McGinn, Smith & Co., Inc., 2016 WL 6459795 at
 26 *2 (N.D.N.Y. Oct. 31, 2016) (internal quotations omitted).
 27         A prima facie showing of fraud and mismanagement “is sufficient to call into play
 28                                          24
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  1 the equitable powers of the court. The district court has broad powers and wide discretion
  2 to frame the scope of appropriate equitable relief.” Id., citing SEC v. Keller Corp., 323
  3 F.2d 397, 403 (7th Cir. 1963) and International Manufacturing Co. v. Landon, Inc., 327
  4 F.2d 824 (9th Cir. 1964). Yet fraud and mismanagement are not necessarily required for
  5 the Court to invoke its equitable powers. See, e.g., SEC v. Bivona, (N.D. Cal., Sept. 13,
  6 2017, No. 16-CV-01386-EMC) 2017 WL 4022485, at *6 (“Findings of wrongdoing are
  7 not necessary to the distribution of Receivership Assets (under whatever plan is
  8 ultimately adopted). … Thus, the Court will not reach the issue of whether Defendants
  9 engaged in wrongful conduct at this time.”). In Bivona, the court noted that it is not
 10 wrongdoing that informs the court’s exercise of its equitable powers over a receivership
 11 entity, but the fact that there is a scarcity of assets that need to be distributed:
 12                It follows that a finding of diversion of funds is not a per se
                   requirement to adopt a pro rata distribution method. That
 13                makes sense. What matters is whether there is a shortage of
                   assets, not necessarily the reasons for the shortage. Whether
 14                a shortage results from unlawful conduct does not change
                   the fact that there are insufficient funds to fully compensate
 15                all investors. And “when funds are limited, hard choices
                   must be made.” Official Comm. of Unsecured Creditors of
 16                WorldCom, Inc. v. SEC, 467 F.3d 73, 84 (2d Cir. 2006)
                   (quotation omitted). The court, sitting in equity, must thus
 17                determine how to distribute the remaining funds fairly. At
                   this juncture, the reason for a purported shortfall of assets
 18                (i.e., whether it was caused by Defendants' alleged diversion
                   of funds or violation of the securities laws) does not appear
 19                to be material to the fairness analysis for the distribution
                   method.
 20
      Id., 2017 WL 4022485, at *9.
 21
 22         B. Mission to Achieve Fairness Among Investors Guides Court’s
 23             Application of Power.
 24         Once the Court’s equitable power over a receivership has been invoked, the court
 25 will seek to treat all investors equally, an approach captured in the axiom “equality is
 26 equity” from the original Ponzi scheme case. Cunningham v. Brown, 265 U.S. 1, 13
 27 (1924); see also SEC v. Capital Consultants, LLC, 397 F.3d 733, 739 (9th Cir. 2005)
 28                                         25
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  1 (quoting United States v. Real Property Located at 13328 and 13324 State Highway 75
  2 North, 89 F.3d 551 (9th Cir.1996). Because there are multiple competing interests for a
  3 limited pot of money, the type of distribution plan that is adopted may have differing
  4 impacts on different class of creditors. When it comes to dividing up the funds available
  5 for the DLIF Investors in Class 4, those claimants will fair differently under different
  6 distribution models. While some may want to try to separately trace their funds that
  7 were put in right at the end in an attempt to get priority treatment, others may want the
  8 Receiver to honor the account statements that they received showing artificially inflated
  9 net asset values for their accounts. Others may receive a larger distribution under a
 10 more traditional Net Investment methodology (discussed below), while others may
 11 prefer the equitable model of Rising Tide (also discussed below). The Receiver has run
 12 models of what the distribution for Class 4 will look like under the Last Statement
 13 method, the Net Investment method, and the Rising Tide method, a draft summary of
 14 which is set forth in Exhibit “4” attached to the Sharp Declaration.15 For the reasons set
 15 forth herein, the Receiver has concluded that Rising Tide is the most equitable
 16 distribution model that will benefit the vast majority of the DLIF Investors.
 17               1. Tracing for Certain DLIF Investors is Not Equitable
 18         As a threshold matter, the Receiver does not believe that it is appropriate to permit
 19 a few investors in DLIF to try to trace their funds in an attempt to receive payment in full
 20 ahead of other DLIF Investors. Courts reject tracing in favor of pro rata distributions
 21 because “it would be inequitable to allow those claimants who are able to trace their funds
 22
 23
      The numbers in Exhibit “4” are subject to change and the model does not yet take
      15

 24 into account the TIN consolidation or noncash redemption transactions, for which the
    Receiver will adjust after the Distribution Plan is approved. The particular claim
 25 amounts are subject to change upon approval of the Distribution Plan and will be
    updated to make certain claim adjustments, including but not limited to (a) reported
 26 profits included in non-cash transfers to investor accounts that were funded from
    redemptions transferred from other investor accounts (no such adjustments have been
 27 made in this analysis); and (b) aggregation of DLIF Investors’ claims with the same
    TIN that might be subsequently identified outside this analysis.
 28                                       26
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  1 to recover at the expense of other similarly situated claimants when such claimants are
  2 only able to trace their assets as a result of the ‘fortuitous fact that the defrauders spent
  3 the money of other victims first.’” Commodity Futures Trading Com'n v. Equity
  4 Financial Group, Inc. (D.N.J., Sept. 2, 2005, No. CIV.04-1512 RBK AMD) 2005 WL
  5 2143975, at *24 (quoting United States v. Durham, 86 F.3d 70 (5th Cir.1996)); S.E.C. v.
  6 Quan, 870 F.3d 754, 762 (8th Cir. 2017) ("Courts have 'routinely endorsed' the pro rata
  7 distribution of assets to investors as the most fair and equitable approach in fraud cases.")
  8 (collecting cases); S.E.C. v. Wealth Mgmt. LLC, 628 F.3d 323, 333 (7th Cir. 2010); S.E.C.
  9 v. Credit Bancorp, Ltd., 290 F.3d 80, 88 (2d Cir. 2002). The fact that some investors can
 10 trace their losses is generally not a reason, by itself, to depart from a pro rata distribution,
 11 because courts must avoid favoring some similarly situated investors over others. See
 12 U.S. v. Wilson, 659 F.3d 947, 956 (9th Cir. 2011); Bivona, 2017 WL 4022485 at *7-8.
 13         In an effort to treat investors fairly and equally, the courts routinely reject
 14 objections by investors that the investors are able to trace their investments and connect
 15 them with specific returns, and that therefore, the investors should receive their principal
 16 and alleged profits, or even just their principal. See Commodity Futures Trading Comm'n
 17 v. Topworth Int'l, Ltd., 205 F.3d 1107, 1115-16 (9th Cir. 2000). Courts “will not indulge
 18 in tracing when doing so would allow one fraud victim to recover all of his losses at the
 19 expense of other victims.” Wilson, 659 F. 3d at 956. See also Byers, 637 F. Supp. 2d at
 20 177 (“Tracing analysis … has been almost universally rejected by courts as inequitable.”);
 21 Bivona, 2017 U.S. Dist. LEXIS 148575, at *12 (declining to “trace” investor funds
 22 because such funds were “regularly commingled” among the various entities, including
 23 using one entity’s funds to cover obligations of other entities and funding one entity’s
 24 investments with another entity’s funds).
 25
 26                2. Modeling for Different Distribution Methodologies
 27         Every distribution methodology is imperfect and will likely leave some of the DLIF
 28                                         27
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  1 Investors displeased with the choice of methodology, as the selection of the particular
  2 distribution methodology will have a direct impact on the amount of distributions to be
  3 received by the DLIF Investors. The Receiver has carefully weighed all alternatives and
  4 has analyzed how different DLIF Investors will be impacted differently depending on
  5 which model is used. He has also looked at the total number of investors to be benefited
  6 by each method. For purposes of analyzing the most equitable distribution plan for DLIF
  7 Investors, the Receiver has modeled the three principal distribution methodologies (Net
  8 Investment, Rising Tide, and Last Statement) based on an assumed total distribution of
  9 $150 million held in the QSF and the other terms of the proposed Distribution Plan.16
 10         Each of the models and the impact on the DLIF Investors is summarized as follows
 11 and discussed in more detail below. The Rising Tide method endeavors to equalize the
 12 percentage of invested funds that are returned to each investor by considering both the
 13 amounts paid to the investors pre-Receivership and the amount to be distributed from the
 14 Receivership. The Net Investment method seeks to allocate receivership distributions pro
 15 rata based on the net amount of the claim after consideration of the money invested and
 16 the money distributed pre-receivership. The Last Statement Method seeks allowance of
 17 claims based upon the amounts identified on the last statement generated for the
 18 customer’s account. The Last Statement method has not been widely adopted but is
 19 preferred by investors who have accumulated profits on their statements and who wish to
 20 be paid those expected profits.
 21
 22   16
        See Exhibit “4” attached to the Sharp Declaration for a summary of the modeling.
      The Receiver notes that these models are illustrative. The ultimate distributions could
 23   differ if the Court, for example, determines material provisions of the Receiver’s
      proposed Plan should be revised, the amounts available for distribution are greater or
 24   less than assumed in the models based on the monetization of assets and the
      completion of litigation, or further information changes the extent to which accounts
 25   were aggregated in the models. The figures supplied in the models reflect the
      Receiver’s reasonable efforts to provide the Court and DLIF Investors an adequate
 26   basis to address whether the Rising Tide method is equitable under the circumstances
      of this case. Despite these reasonable efforts, figures provided in this section remain
 27   preliminary and subject to change and should be treated as illustrative rather than
      predictive.
 28                                       28
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  1         The Net Investment method does not seek to equalize percentage returns based
  2 upon funds paid pre-Receivership and in consideration of funds that will be paid from the
  3 Receivership. The Last Statement method does not differentiate between those investors
  4 who received distributions during the fraudulent operations and those who received
  5 nothing or relatively little during that same period. The Last Statement method is
  6 detrimental to those fraud victims who received little or nothing prior to the receivership
  7 because they must split limited receivership assets with those investors who already
  8 benefited from their pre-Receivership receipt of other fraud victims’ money.
  9         Courts balance the equities in the particular case when considering distribution
 10 methodologies. CFTC v. Barki, LLC, 2009 U.S. Dist. LEXIS 112998(W.D.N.C. Nov. 12,
 11 2009). The Barki court noted that “Although all three methods are equitable, the facts of
 12 a given case dictate which method would be most equitable. See, e.g., SEC. v. Byers, 637
 13 F. Supp. 2d at 182. For example, in Byers, the court rejected the Rising Tide method when
 14 45% of the investors would receive no additional compensation.
 15         On the other hand, in CFTC v. Lake Shore Asset Management. Ltd., 2010 U.S. Dist.
 16 LEXIS 24061, at *28 (N.D. Ill. Mar. 15, 2010) (citing Equity Financial, 2005 U.S. Dist.
 17 LEXIS 20001, at *83), the court found that the Rising Tide method was the most equitable
 18 method:
 19         [I]t prevents an investor who previously received funds as withdrawals
 20         from “benefitting at the expense of other investors by retaining the benefit
            of the full amount of his withdrawal plus a distribution calculated on the
 21         basis of net funds invested, rather than the recommended distribution
 22         amount adjusted to take into account all amounts already received.

 23
            The Receiver has concluded that Rising Tide is the most equitable distribution
 24
      model in the aftermath of the fraud. For summary purposes, the modeling reflects that
 25
      the following number of investor accounts will receive the greatest distribution under
 26
      each of the models:
 27
            Rising Tide:        592
 28                                        29
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  1         Net Investment:    94
  2         Last Statement:    228
  3         The most common types of pro rata distribution plans use either a Rising Tide or
  4 Net Investment method to calculate each investor’s distribution. The unifying thread
  5 through the cases examining the receivership distribution plans of district courts is that
  6 the courts seek to be fair and equitable to similarly situated creditors, and pro rata
  7 distribution through a Rising Tide or Net Investment method is widely preferred over
  8 methods that might provide a greater recovery to some creditors at the expense of other
  9 creditors. This principle was well-articulated in SEC v. Elliott:
 10               To allow any individual to elevate his position over that of
                  other investors similarly victimized by asserting claims for
 11               restitution and/or reclamation of specific assets based upon
                  equitable      theories    of    relief   such    as   fraud,
 12               misrepresentation, theft, etc. would create inequitable
                  results, in that certain investors would recoup 100% of their
 13               investment while others would receive substantially less.”
 14 S.E.C. v. Elliott (11th Cir. 1992) 953 F.2d 1560, 1569.
 15         The Receiver believes that the Rising Tide pro rata plan is more equitable in this
 16 case for at least the following reasons. First, only 94 investors will benefit from the
 17 selection of the Net Investment method over Rising Tide. Rising Tide will benefit 604
 18 investors the most. Additionally, the Net Investment method does not equalize
 19 distribution based on amounts previously distributed to investors pre-Receivership.
 20 Rather, this method simply adjusts the allowed amount of the claim on a cash in and cash
 21 out basis and then distributes to the investors with allowed claims on a pro rata basis,
 22 without consideration to the percentage of the claim that has been repaid.
 23         Given that some DLIF Investors fare better under one methodology than another,
 24 some parties may object to the methodology selected. The Receiver must look at the
 25 overall equity in the case and cannot allow a particular individual’s or small group of
 26 individuals’ interests drive the analysis. Rather, the Receiver and this Court must
 27 simultaneously consider the interests of all DLIF Investors and other claimants to derive
 28                                       30
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  1 an equitable distribution plan, consistent with the satisfaction of due process and
  2 individual property rights. The Receiver has carefully weighed all alternatives and has
  3 analyzed how different investors will be impacted differently depending on which
  4 model is used. He has also looked at the total number of investors to be benefited by
  5 each method and has concluded that Rising Tide is the most equitable distribution
  6 model for distribution to DLIF Investors in the aftermath of the fraud. The Receiver
  7 believes that the proposed Distribution Plan is the most fair and equitable plan for the
  8 resolution and treatment of such Investors and Claimants and he asks the Court to view
  9 the proposed Distribution Plan as a whole and to approve the Plan in its entirety.
 10                3. The Last Statement Method is Not Equitable
 11         One method of distribution that is not often used in equitable receiverships is the
 12 “Last Statement” method – which is when an investor’s distribution is based on the
 13 value listed on an investor’s last account statement. The Last Statement method seeks
 14 allowance of claims based upon the amounts identified on the last statement generated
 15 on the customer’s account books. CFTC v. Richwell Int’l, Ltd., 163 B.R. 161 (N.D. Cal.
 16 1994); see also SEC v. AmeriFirst Funding, 2008 U.S. Dist. LEXIS 20044, at *17
 17 (declining to adopt the Last Statement method, noting that “treating the pre-receivership
 18 interest payments as a return of investments is the best way of putting those investors
 19 who elected to receive interest payments on equal footing with those who elected to
 20 rollover their interest”).
 21         The Last Statement method is not equitable when those statements do not reflect
 22 reality or are otherwise inaccurate. See, e.g., In re Bernard L. Madoff Investment
 23 Securities, LLC, (S.D.N.Y., Jan. 14, 2016, No. 15 CIV. 1151 (PAE)) 2016 WL 183492,
 24 at *1. As set forth in the Report attached as Exhibit “1,” the net asset values reflected in
 25 the investors’ statements are not reliable or accurate as they were overstated by
 26 hundreds of millions of dollars.
 27         The Receiver’s claims modeling in Exhibit “4” reflects that 231 DLIF Investors
 28                                        31
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  1 could likely prefer a methodology that allows their claim in the amount set forth in their
  2 last statement, which was based on the inflated NAVs issues as of November 31, 2018.
  3 The Report sets forth the background revealing that the November 2018 NAVs were
  4 substantially inflated, as were NAVs for prior periods when DLIF Investors entered,
  5 and exited, the scheme over time. The facts of this case do not warrant analysis of the
  6 priorities of distribution on a breach of contract, or benefit of the bargain basis. In an
  7 ordinary breach of contract case involving a promissory note, the creditor has claims
  8 beyond recovering the outstanding loan principal, including for interest, default interest,
  9 attorney fees, and other costs. In the case of a fraudulent scheme where account
 10 statements were based on fictitious returns and the promoter of the scheme made the
 11 same misrepresentations to all investors, equitable considerations must supersede any
 12 ordinary contract claim. Here, the Receiver has concluded that equity and the collective
 13 interests of DLIF Investors are best served by precluding “benefit of the bargain”
 14 recoveries because the use of the NAVs as a benchmark for valuing claims is therefore
 15 unreliable and unjust.
 16         The fraud perpetrated on the DLIF Investors who were similarly situated and held
 17 interests in all of the same assets necessitates that the distribution plan be based upon
 18 equitable considerations. The Ninth Circuit has recognized that equity can displace an
 19 investor’s claim to “benefit of the bargain” recoveries. See In re Tedlock Cattle
 20 Company, Inc., 552 F.2d 1351 (9th Cir. 1977). There, when a Ponzi scheme involving
 21 cattle feedlots collapsed, early investors contended that their fraud claims entitled them
 22 to “benefit-of-the-bargain” damages. Id. at 1352. The Ninth Circuit affirmed the
 23 rejection of that argument, finding that false profits paid out to earlier investors as a
 24 return of principal would “unfairly” reduce and defeat claims of later investors who had
 25 received none of their principal back. Id. at 1353. Instead, equity allowed the receiver in
 26 that case to craft a formula for investor claims that relied on how much money each
 27 investor paid in and received back. Id. at 1352, 1354.
 28                                        32
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  1          District courts are empowered to fashion remedies and approve distribution
  2 plans that are arguably inequitable to individual investors when they serve the goal of
  3 protecting the body of investors as a whole. For example, in SEC v Capital Consultants,
  4 the Ninth Circuit upheld a plan that reduced individual investors’ ultimate pro rata
  5 distributions by 50% of sums that those investors had recovered from third parties who
  6 originally advised the investors to invest in the receivership entity. Id., 397 F.3d at 739.
  7         District courts are not necessarily hemmed in by the existence of state law claims
  8 that investors might have; when they are exercising equitable power to distribute
  9 insufficient assets to creditors, the courts strive to avoid providing relief to one creditor
 10 at the expense of another. This is true even if one creditor has a valid legal claim. See
 11 Liberte Capital Group, LLC v. Capwill, 148 Fed.Appx. 426, 434 (6th Cir. 2005). In
 12 Liberte Capital, investors were matched directly with specific life insurance policies.
 13 The district court did not permit tracing of the investments, even though tracing would
 14 have been simple in many instances. Id. In its opinion approving the distribution plan,
 15 the Sixth Circuit observed that the investors “may well be the actual beneficiaries, and
 16 their ownership interest easily ascertained. Furthermore, they may well have valid legal
 17 claims, including breach of contract and fraud. However, a court sitting in equity has
 18 the discretionary authority to deny state law remedies as inimical to the receivership.”
 19 Id, citing United States v. Vanguard Inv. Co., 6 F.3d 222, 226 (4th Cir.1993); SEC v.
 20 Elliott, 953 F.2d 1560, 1569–70 (11th Cir.1992). In another case, a Central District of
 21 California district court acknowledged that 700 investors had their own state law
 22 claims, but refused to allow them to intervene in the receivership on multiple grounds,
 23 including that the intervention would delay the ultimate distributions to investors
 24 because of increased discovery and a more extensive trial process, which would hurt all
 25 of the investors. SEC. v. TLC Investments and Trade Co., 147 F.Supp.2d 1031, 1043
 26 (C.D. Cal. 2001).
 27                4. A Net Investment Plan is Not the Most Equitable
 28                                        33
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  1         Rather than benefit of the bargain, courts frequently favor a pro rata distribution
  2 of funds in equitable receiverships. See S.E.C. v. Quan, 870 F.3d 754, 762 (8th Cir.
  3 2017) ("Courts have 'routinely endorsed' the pro rata distribution of assets to investors
  4 as the most fair and equitable approach in fraud cases.") (collecting cases). The Net
  5 Investment method has been used as the basis of pro rata plans of distribution in some
  6 fraud cases. See, e.g., CFTC v. CapitalStreet Financial, LLC, 2010 U.S. Dist. LEXIS
  7 75113, at *7 (W.D.N.C. June 18, 2010) (“The distribution method for Investors will be
  8 the ‘Net Investment’ method. Investors shall receive a pro rata share of the
  9 Receivership Estate based upon each Investor’s Net Investment. The Net Investment for
 10 each Investor shall be calculated by subtracting that Investor’s Total Withdrawals from
 11 Total Investment[.]”); see also SEC v. Byers, 637 F. Supp. 2d 166, 172 (S.D.N.Y. 2009)
 12 (holding that claims to be calculated on “net investor method” which means that any
 13 cash distributions received prior to the insolvency proceeding would be subtracted from
 14 the total amount invested); SEC v. Credit Bancorp, Ltd., 2000 U.S. Dist. LEXIS 17171,
 15 at *97 (S.D.N.Y. Nov. 29, 2009) (holding that a “net investment” method was
 16 appropriate, where the distribution plan provided that “a customer’s claim is limited to
 17 the principal balance deposited with Credit Bancorp and is reduced by the amount of
 18 any funds previously received including prepaid or quarterly custodial dividends, loans,
 19 or other distributions. In addition, customers may not assert claims for interest,
 20 dividends, or promised returns”).
 21         Courts generally consider three factors when determining whether to approve a
 22 pro rata distribution plan: (1) Was there a single, unified scheme to commit fraud? (2)
 23 Were the defrauded victims similarly situated? and (3) Have funds been commingled
 24 across multiple accounts? See Credit Bancorp, Ltd., 290 F.3d at 88-89; S.E.C. v. J.P.
 25 Morgan Sec., LLC, 266 F. Supp. 3d 225, 231 (D.D.C. 2017); S.E.C. v. Founding
 26 Partners Capital Mgmt., Case No. 2:09-cv-229-FTM-29SPC, 2014 WL 2993780 at *6
 27 (M.D. Fla. July 3, 2014).
 28                                       34
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  1         The Report clearly establishes the basis for an equitable pro rata distribution
  2 plan. For the reasons set forth herein, the Receiver believes that a Rising Tide Plan is
  3 more equitable than a Net Investment plan.
  4                5. Rising Tide Method of Distribution is the Most Equitable
  5         The type of pro rata distribution method that is "most commonly used (and
  6 judicially approved) for apportioning receivership assets" is known as the "Rising Tide"
  7 method. S.E.C. v. Huber, 702 F.3d 903, 906 (7th Cir. 2012). The Rising Tide method
  8 takes into consideration not only how much a person invested in the scheme but also what
  9 percentage of their investment was returned to them before the Receiver was appointed.
 10 See, e.g. CFTC v. Rust Rare Coin, 2020 U.S. Dist. LEXI 152245 (D. Utah Aug. 20, 2020).
 11 Courts have noted that, “there is no reason to allow certain investors to receive different
 12 percentages of their initial investment given that all of the investors were all equally
 13 victimized by the conduct of the Receivership Defendants.” CFTC v. Lake Shore Asset
 14 Management. Ltd., 2010 U.S. Dist. LEXIS 24061, at *28 (N.D. Ill. Mar. 15, 2010).
 15         The Lake Shore court further noted that “because the ‘Rising Tide’ method benefits
 16 over 85% of the approved claimants and 13% of the claimants would benefit under the
 17 application of the ‘Net Investment’ method but receive more than their fair share of the
 18 available funds, the court approves the use of the ‘Rising Tide’ method.” Lake Shore at
 19 *29.
 20         The Receiver has concluded that the Rising Tide methodology of distribution for
 21 distribution is the most equitable manner in which to treat the DLIF Investors. The
 22 Receiver’s conclusions regarding the appropriate distribution methodology are based
 23 primarily on the fraudulent nature of the scheme from inception and the fact that all
 24 investors are similarly situated and were invested in the same pool of assets. Additionally,
 25 64.8% of the DLIF Investors will benefit from the Rising Tide method of distribution, as
 26 opposed to 10.3% for Net Investment and 24.9% for Last Statement. The Receiver
 27 believes it is most equitable for all investors to ultimately receive a distribution equal to
 28                                        35
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  1 the same percentage of their cumulative investment, irrespective of whether the
  2 distribution was made directly from the investment scheme or by a receiver from the
  3 assets remaining in the receivership estate.
  4         The manner in which Rising Tide calculations are made has been described as
  5 follows: distributions are “calculated according to the following formula: (actual dollars
  6 invested x pro rata multiplier) - withdrawals previously received = distribution
  7 amount.”17
  8         In Parish, the court described the Rising Tide Method as follows:
  9
                   In effect, an individual investor’s loss is deemed to be the
 10                gross amount actually invested in the scheme. Payments
 11                received by the investor prior to the scheme’s collapse are
                   treated as “distributions” on par with the distributions to be
 12                made by the Receiver, so that prior amounts paid by Parish
 13                are credited against (i.e., subtracted from) the amount that
                   would otherwise be paid from the receivership estate. Under
 14                this method, investors who received prior payments are
 15                entitled to receive a smaller pro-rata payment from the
                   receivership estate than those who received no prior
 16                payment. Moreover, investors who previously received
 17                payments exceeding their pro rata amount of the total
                   distribution will receive no distribution from the
 18                receivership estate.18
 19
            In United States v. Cabe, the court used this articulation of the method, although
 20
      it did not call it the “Rising Tide Method”:
 21
                   The court further finds that persons who have previously
 22                been repaid by defendants should not be wholly barred from
                   participating in the distribution. Rather, such persons should
 23
                   receive a reduced amount so that the total amount they
 24                receive (both from the distribution and from the earlier
                   repayment from the defendants) would roughly equal the
 25
 26   17
       Equity Financial, 2005 U.S. Dist. LEXIS 20001, at *83.
 27 18 SEC v. Parish, No. 2:07-cv-00919-DCN, 2010 U.S. Dist. LEXIS 11757 (D.S.C.
       Feb. 10, 2010), at *11.
 28                                      36
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  1                  amount they would have received from a pro rata
  2                  distribution had they not received any money during the
                     scheme from the defendants.19
  3
               In CFTC v. Hoffberg, the court used this formula, with explanation, although it
  4
  5 too did not call its method the “Rising Tide Method”:
  6                  (Total Investment x 0.15) - Amounts Previously Received
  7
                             The “Amounts Previously Received” reflects all
  8                  monies received by the investors, whether withdrawn from
  9                  the account by the investor or distributed to the investor by
                     Hoffberg. The result of this formula is that investors who
 10                  had withdrawn or otherwise received back more than 15%
 11                  of their initial investment will recover no additional amounts
                     at this time.20
 12
               The Report lays the foundation for his recommended Distribution Plan based on
 13
      the Rising Tide method of distribution for the DLIF Investors. Under the Rising Tide
 14
      method, distributions will be made to the DLIF Investors with the purpose of equalizing
 15
      the percentage of invested funds that are returned to each DLIF Investors without regard
 16
      for whether the funds were returned pre-Receivership to the DLIF Investor by the
 17
      Receivership Entities or as part of the Receiver’s Distribution Plan. Under the Rising
 18
      Tide method, assets are distributed to the extent they are available to those investors who
 19
      lost the greatest percentage of their investment until they reach parity with other investors
 20
      who lost a smaller percentage of their investment due to distributions made during the
 21
      course of the fraudulent scheme before the appointment of a receiver.
 22
               The mechanics of the Rising Tide method were explained in a recent receivership
 23
      case as follows:
 24
 25
      19
 26        United States v. Cabe, 311 F. Supp. 2d 501, 509 (D.S.C. 2003).
      20
        CFTC v. Hoffberg, 1993 U.S. Dist. LEXIS 15173, at *4 (N.D. Ill. Oct. 28, 1993)
 27
      (footnote omitted).
 28                                          37
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  1
               Invest       Adjusted               Pre-             Percentage
  2              or         Investor            Receivership
  3
                              Claim              Recovery              return
  4
  5               A          $100,000              $0.00                0%
                  B          $200,000            $40,000.00             20%
  6               C          $100,000            $80,000.00             80%
  7
            Under this scenario, Investor A would be the first to receive a distribution, as
  8         their percentage return is 0%. Investor B will not receive a distribution unless
            and until Investor A has received a 20% percentage return or, in this illustration,
  9
            distributions of $20,000.00. In the event Investor A receives $20,000.00 in
 10         distributions and there remain additional funds to distribute, Investor B will
 11         begin receiving distributions with Investor A proportionate to their Allowed
            Claims. Based on the above illustration, in the event there is an additional
 12         $6,000.00 to distribute, Investor A would receive $2,000.00, and Investor B
 13         would receive $4,000.00 (an additional 2% return to each Investor). Investors A
            and B will continue to receive distributions to the exclusion of Investor C until
 14         Investors A and B have both received an 80% percentage return. In the event
 15         Investors A and B receive distributions sufficient for both to receive an 80%
            percentage return and there remain additional funds to distribute, Investor C will
 16         begin receiving distributions with Investors A and B proportionate to their
 17         Allowed Claims.

 18
      Rust Rare Coin, 2020 U.S. Dist. LEXIS 152245, at *5-6.
 19
            The Rising Tide distribution to a given DLIF Investor is the sum of Pre-
 20
      Receivership Returns, plus the amount that the Receiver will distribute pursuant to the
 21
      Distribution Plan. The Rising Tide distribution divided by Total Investment equals the
 22
      Rising Tide recovery percentage (i.e., the Recovery Threshold) for a given DLIF Investor.
 23
      Each Allowed DLIF Investor Claim will be paid up to the Recovery Threshold based on
 24
      the ratio of the Pre-Receivership Return received by a given DLIF Investor to such DLIF
 25
      Investor’s related Total Investment. If the DLIF Investor received Pre-Receivership
 26
      Returns that exceed the final Rising Tide Recovery Threshold, the DLIF Investor will not
 27
      receive a further distribution, unless and until all other Allowed DLIF Investors Claims
 28                                        38
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  1 are paid the same rising tide Recovery Threshold and there are additional sums to
  2 distribute to DLIF Investors.
  3         As modeled in Exhibit “4,” the Rising Tide distributions (including Pre-
  4 Receivership Returns and distributions that would be made under the Distribution Plan)
  5 reach approximately at least 30.53% for all DLIF Investors assuming a $150 million
  6 distribution. That is, DLIF Investors who received Pre-Receivership Returns from the
  7 Receivership Entities of less than 30.53% of their Total Investment would receive
  8 distributions from the Receivership such that their cumulative distributions would equal
  9 approximately 30.53% of their Total Investment. Under a Rising Tide methodology, this
 10 recovery percentage, or “Recovery Threshold,” would be uniform across DLIF Investors
 11 who receive funds under the Distribution Plan. Under the Rising Tide method, DLIF
 12 Investors who lost the greatest percentage of their Total Investment receive a
 13 proportionately greater distribution from the Receivership Property than DLIF Investors
 14 who already received proportionally larger returns as a result of Pre-Receivership
 15 Returns. Stated differently, the Rising Tide method equalizes distributions to all DLIF
 16 Investors, including those DLIF Investors who received disproportionate distributions
 17 from the Receivership Entities (made with later DLIF Investors’ money); those DLIF
 18 Investors who received payments from the Receivership Entities do not benefit at the
 19 expense of those who did not.21
 20
 21 V.      ASSETS MAY BE POOLED FOR DISTRIBUTION
 22         The Receivership Entities and their assets were substantially commingled and the
 23 assets of the Receivership Entities shall be pooled for distribution under the Distribution
 24 Plan to the extent set forth in the Distribution Plan. The commingling of assets of the
 25
 26   See e.g., Huber, 702 F.3d at 909 (approving use of “rising tide” distribution plan);
      21

    CFTC v. Hojjberg, No. 93-cv-3106, 1993 WL 441984, at *3 (N.D. Ill. Oct. 28, 1993)
 27 (adopting a “rising tide” plan); CFTC v. Equity Financial Group, LLC, No. 04-1512,
    2005 WL 2143975, at *25 (D.N.J. Sept. 2, 2005) (same).
 28                                      39
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  1 Receivership Entities provides sufficient basis to combine and pool all assets of the
  2 Receivership Estate for purposes of distribution as set forth in the Distribution Plan. As
  3 set forth in the Report, there is no factual basis for any particular creditor to trace its funds
  4 and, in any event, tracing is disfavored “when doing to would allow one fraud victim to
  5 recover all of his losses at the expense of the other victims.” United States v. Wilson, 659
  6 F.3d 947, 956 (9th Cir. 2011). See also United States v. Real Prop. Located at 13328 &
  7 13324 State Highway 75 N., Blaine Cty., Idaho, 89 F.3d 551, 553 (9th Cir. 1996) (“tracing
  8 fictions should not be utilized under circumstances involving multiple victims and
  9 commingled funds”). Typically, tracing of invested funds does not yield the most
 10 equitable result, because the ability to trace funds is the result of the merely fortuitous
 11 fact that certain investor funds were spent before funds of others, where the funds of
 12 investors have been shown to be substantially commingled. SEC v. Sunwest Management,
 13 Inc. (D. Or., Oct. 2, 2009, No. CIV. 09-6056-HO) 2009 WL 3245879, at *8–9, citing
 14 United States v. Durham, 86 F.3d 70 (5th Cir.1996).
 15         To justify pooling, “[c]ommingling need not necessarily be systematic.” SEC v.
 16 Sunwest Mgmt., No. 09-6056-HO, 2009 U.S. Dist. LEXIS 93181, at *34 (D. Or. Oct. 1,
 17 2009) (citing Eustace, 2008 U.S. Dist. LEXIS 11810). There is no predetermined amount
 18 of commingling required to justify the pooling of assets. “[C]ourts have held that any
 19 commingling is enough to warrant treating all the funds as tainted.” Sunwest, 2009 U.S.
 20 Dist. LEXIS 93181 at *34 (emphasis added) (("Due to the fungibility of money . . . courts
 21 have held that any commingling is enough to warrant treating all of the funds as tainted.");
 22 SEC v. Byers, 637 F. Supp. 2d 166, 178 (S.D.N.Y. 2009) (finding "some evidence that
 23 commingling occurred" supported a pro rata distribution, and noting "the law does not
 24 appear to require more than that"). “[E]ven the ‘presence of some tainted funds in [a]
 25 commingled account is sufficient to taint’ legitimately-acquired funds ….” Bivona, 2017
 26 U.S. Dist. LEXIS 148575, at *27.
 27
 28                                         40
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  1         In evaluating the commingling of assets and whether pooling is appropriate, the
  2 purpose is to determine whether “the source and destination of each investor's funds can
  3 be meaningfully disentangled.” Id. This principle flows from the fact that money is
  4 fungible and, once moneys are combined, disaggregation is somewhat arbitrary and
  5 disentanglement challenging. Thus, even the "presence of some tainted funds in [a]
  6 commingled account is sufficient to taint" legitimately-acquired funds in the context of
  7 money laundering. United States v. Garcia, 37 F.3d 1359, 1365-66 (9th Cir. 1994).
  8 VI.     SUBORDINATION OF CLAIMS
  9         The Distribution Plan provides that Class 5, 6 and 7 claims will only receive
 10 distribution following payment in full to Class 1, 2, 3 and 4 claimants. Class 5 is
 11 composed of General Unsecured Claims arising out of or relating to any: contract, lease,
 12 or other agreement entered into prior to April 1, 2019, for which payment has not been
 13 made in whole or in part, or for which payment has or will come due prior to, on, or after
 14 April 1, 2019; good or services provided prior to April 1, 2019; unpaid employee wages,
 15 compensation, or other employment benefits, that accrued prior to April 1, 2019; or taxes
 16 payable by the Receivership Entity for tax period prior to April 1, 2019 (some of which
 17 may be classified as Class 2 Priority Claims).
 18         All of these the classes properly should be classified as, at most, unsecured claims.
 19 It is common for distribution plans to prioritize the claims of innocent investors in a
 20 fraudulent scheme over other non-secured creditors. See, e.g., United States CFTC v.
 21 Capitalstreet Fin., LLC, No. 3:09cv387-RJC-DCK, 2010 U.S. Dist. LEXIS 75113, at *4
 22 (W.D.N.C. June 18, 2010) (approving plan giving investors priority over creditors); SEC
 23 v. HKW Trading LLC, No. 8:05-cv- 1076-T-24-TBM, 2009 U.S. Dist. LEXIS 77215, at
 24 *8 (M.D. Fla. Aug. 14, 2009) (“Payment to claimants whose property was unlawfully
 25 taken from them is given a higher priority than payment to the general creditors.” (Citing
 26 Clark, TREATISE ON THE LAW AND PRACTICE OF RECEIVERS § 662.1(a), p.
 27
 28                                        41
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  1 1174, § 667, p. 1198 (3d ed. 1959)); SEC v. Brian A. Bjork, No. 4:11-cv-2830 (S.D. Tex.
  2 2013).
  3         Class 6 is composed of the unliquidated Indemnity Claims of former employees,
  4 officers, or directors of the Receivership Entities in connection with an employment
  5 contract entered into prior to April 1, 2019. The Receiver disputes the Claims filed by
  6 each claimant in this Class and anticipates filing objections if the Receiver is unable to
  7 reach a compromise resolution with the Claimants, which could include a broader
  8 settlement of potential claims. The former employees, officers or directors that have filed
  9 Indemnity Claims include the Chief Investment Officer, the Chief Financial Officer,
 10 General Counsel, EVP, Research, and EVP Sales. With one limited exception,22 the sole
 11 reason that these individuals may have Indemnity Claims is if in the future they suffer
 12 losses not covered by insurance, which is only a possibility if they are found liable for
 13 damages in excess of the available insurance coverage remaining from $35 million in
 14 Directors & Officers insurance. They then could theoretically assert that they are entitled
 15 to indemnity from the Receivership Entities based on pre-receivership employment
 16 contracts or certain entities’ organizational documents. Second, not only will these all
 17 remain unliquidated claims for the foreseeable future, but even if any of the Class 6
 18 Claimants suffered a loss in a sum in excess of insurance coverage, the loss almost
 19 certainly would be based on a judgment of wrongdoing, which would result in the claims
 20 being disallowed because such wrongdoing was against the Receivership Entities and the
 21 claimants should be barred from pursuing indemnity claims as a result. Thus, the Receiver
 22 believes such claims would then be disallowed on that basis in any event.
 23
 24
       One former officer of DLI has incurred legal expenses that he attributes to a need
      22

 25 to protect against future claims that theoretically could arise against him, from
    responding to future requests for interviews by governmental authorities, and for
 26 monitoring these proceedings. He has been denied coverage by the insurers because
    they have determined that no claim has been made against him and no request for an
 27 interview has been made by a governmental authority that the insurers view as
    triggering coverage.
 28                                        42
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  1         In this context, it is important to note that treating the Indemnity Claims as
  2 pre-receivership unsecured claims is proper. In In re Christian Life Center, 821 F. 2d
  3 1370 (9th Cir. 1987), a group of lawyers representing corporate officers of a chapter
  4 11 debtor in an adversary proceeding sought administrative expense priority for their
  5 attorney’s fees. The Ninth Circuit squarely held that claims for indemnification of
  6 legal costs incurred by an officer of the debtor who was sued arose based on alleged
  7 pre-petition misconduct by the officers arose, as here, from pre-petition contracts.
  8 Thus, any duty of the debtor to reimburse or indemnify the officer for his legal
  9 expenses was, at most, a general unsecured claim.23
 10         In addition, the Ninth Circuit noted that, “[i]t is beyond cavil that the court
 11 could subordinate indemnity claims of officers found liable of securities violations or
 12 fraud” to all other unsecured creditors. The Ninth Circuit remanded the case back to
 13 the bankruptcy court so that there could be a more developed record to rule on
 14 whether the officers could prevail on the merits of their defense in the adversary
 15 proceeding or if the bankruptcy court had sufficient grounds to find that the officers
 16 had acted wrongfully or inequitably (citing to Cal. Corp. Code 317).
 17         Similarly, in SEC v. Francisco Illarramendi, 2014 U.S. Dist. LEXIS 16459 (D.
 18 Conn. Feb. 14, 2014), former officers sought an order from the district court in a
 19
 20   23
         There are many other cases that reach similar results. For example, in State Com’r
      of Social Services v. 3030 Park Fairfield Health Center, Inc. 2006 WL 3360589
 21   (Conn. Nov. 2, 2006), a former officer of a corporation that was put into receivership
      by the state filed a proof of claim in an unliquidated amount for indemnification of
 22   any payments and expenses pursuant to Connecticut’s mandatory indemnification
      provision. Creditors (post receivership) had threatened litigation against her for
 23   alleged acts committed while she was an officer of the corporation. The officer
      argued that her claim was entitled to administrative priority because claims had
 24   arisen after the commencement of the receivership and some of the lawsuits had not
      been instituted yet. The court turned to bankruptcy law to find that the claims
 25   concerned pre-petition activities and therefore did not satisfy 11 U.S.C. § 503 of the
      Bankruptcy Code, which defines an administrative expense as “the actual, necessary
 26   costs and expenses of preserving the estate…” Thus, the Court held that the officer’s
      claims were to be treated as pre-petition unsecured claims citing numerous cases,
 27   including In re Christian Life Center, 821 F.2d at 1373, and Trustees of
      Amalgamated Zins. Fund v. McFarlin’s, Inc., 789 F.2d 98, 101 (2d Cir. 1986)
 28                                        43
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  1 receivership action for advancement of legal fees to defend against a suit brought by the
  2 receiver. The movant’s liability had not yet been determined and the movant’s contractual
  3 rights to indemnification and advancement were derived from Delaware law. The receiver
  4 argued that the advancements should be rejected as they were not administrative
  5 expenses. The officers argued that Delaware’s strong policy favoring indemnification
  6 justified administrative expense priority. The court held that the advancement of
  7 attorneys’ fees could be considered an administrative expense. However, relying on
  8 Delaware cases, the court held that an evidentiary hearing was needed to determine
  9 whether the movants had unclean hands or engaged in inequitable conduct because under
 10 Delaware law even when advancement is contractually required indemnity should be
 11 denied because the officers had unclean hands or engaged in inequitable conduct. This
 12 outcome is consistent with the general principles of indemnity law, which bar indemnity
 13 claims of former officers and directors who have engaged in wrongdoing.
 14         In sum, subordination of the Indemnity Claims is warranted because they are at
 15 most general unsecured claims; they are unliquidated claims that almost certainly will not
 16 arise absent a finding of liability; and even if there is a finding of liability such a finding
 17 would justify disallowing the claims in their entirety. At a minimum, claims of former
 18 officers and directors found culpable should be subordinated.
 19         Class 7 is composed of the three Claims filed by Counter-Parties against the
 20 Receivership Estate arising from or relating to the failure to lend money post-
 21 Receivership in connection with contracts entered into prior to April 1, 2019. The
 22 Receiver disputes claims in this Class as well and anticipates filing objections. The
 23 Distribution Plan provides that to the extent claims in Class 6 and Class 7 are Allowed,
 24 they will only be paid after payment is made in full to Classes 1-4, and will be paid pro
 25 rata with the Class 5 claims.
 26         More specifically, as to the claim of Counter-Party Talking Capital, the Receiver
 27 contends that this Counter-Party engaged in wrongful conduct with respect to DLI.
 28                                         44
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  1 Talking Capital was a predecessor to VoIP Guardian, and this claim should be disallowed.
  2 Similarly, Counter-Party QuarterSpot worked with Ross to misreport borrower payments.
  3 This claim should also be disallowed.
  4         The Receiver does not believe the claim of Three Line Capital is a valid claim and
  5 will object if necessary, but also is in negotiation with this Counter-Party about potential
  6 resolution and liquidation of DLI’s position in Three Line Capital, which would also
  7 resolve its claim. Finally, as noted above on page 24, note 14, the claim of Investment L
  8 will be withdrawn.
  9 VII. CONSOLIDATION OF MULTIPLE ACCOUNTS UNDER PLAN IS
 10         APPROPRIATE.
 11         The Distribution combines multiple accounts held by a single taxpayer
 12 identification number. The Receiver believes that such treatment will prevent disparate
 13 outcomes between a DLIF Investor with a single account and similarly situated DLIF
 14 Investors who may hold multiple accounts, each with different pre-Receivership recovery
 15 rates. Consolidating multiple “accounts” associated with the same person is equitable
 16 under the facts of this case. A DLIF Investor in this scheme is not injured more or less
 17 simply by virtue of investing money in multiple accounts or accounts differently titled.
 18 And other DLIF Investors should not suffer or benefit on account of another DLIF
 19 Investor’s method of holding title to multiple accounts. As such, it is equitable to
 20 consolidate accounts of a given DLIF Investor to prevent disparate outcomes between
 21 that DLIF Investor and similarly situated DLIF Investors.
 22         Courts have recognized that consolidating “accounts” is equitable. In Equity
 23 Financial Group, 2005 U.S. Dist. LEXIS 20001, at *88, the district court recognized that
 24 consolidating an investor’s accounts, even when held in different capacities, was
 25 equitable. The Equity Financial court noted that, “not to consolidate would permit an
 26 investor who used different investment vehicles and received funds in one account to
 27
 28                                       45
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  1 obtain a disproportionately large distribution when compared to other single account
  2 investors.” Id.
  3        The Receiver has identified TINs associated with the DLIF Investor accounts and
  4 proposes the following relief in the Distribution Plan relating to multiple accounts:
  5        1. To the extent that a TIN is associated with multiple accounts, those accounts
  6            and associated claims will be aggregated for purposes of calculating that DLIF
  7            Investor’s claim and distribution amounts except for the following multiple
  8            accounts: Trust accounts, retirement accounts, and accounts of separate Persons
  9            (even those that may share a TIN with other trust or non-trust accounts) when
 10            the Receiver reasonably believes those trust, retirement, and other accounts and
 11            associated claims represent separate interests. In such circumstance, the trust,
 12            retirement, and other accounts and associated claims will not be aggregated for
 13            purposes of calculating the claim and distribution amounts for those accounts.
 14        2. While claim amounts and total distribution amounts to a given DLIF Investor
 15            will be determined at the TIN level, if multiple investment accounts share the
 16            same TIN, the Receiver would then allocate the resulting distribution amount
 17            attributable to a given DLIF Investor across individual accounts that share the
 18            same TIN, with such allocation to be made pro-rata based on the account-level
 19            Net Investment Loss amount. In the event such allocation may not be feasible
 20            despite the Receiver’s reasonable efforts, the Receiver will make distributions
 21            to the DLIF Investor based on the TIN level attribution. The Receiver will
 22            determine in his sole discretion whether distribution payments will be made
 23            directly to DLIF Investors or to the account custodians, as applicable. The
 24            Receiver is not responsible for compliance with investors’ individual
 25            investment account rules and tax consequences.
 26
 27
 28                                       46
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  1         Here, for the same reasons as recognized by the district court in Equity Financial.
  2 Group, the Receiver requests that this Court authorize the above procedures such that the
  3 Receiver may consolidate related accounts, as appropriate to serve equitable ends.
  4 VIII. AN INTERIM DISTRIBUTION OF $150 MILLION IS APPROPRIATE
  5         The Receiver requests authority to make an interim distribution of $150 million at
  6 this time. Specifically, the Receiver requests authority to pay or reserve funds as follows:
  7         1. Class 1 Administrative claims: The Receiver will pay all allowed fees and
  8            expense claims of professionals. To the extent that no court approval has yet
  9            been obtained, or the Receiver intends to object to a claim, the Receiver will
 10            reserve funds for the full amount of the filed claims pending resolution.
 11         2. Class 2 Priority claims: The Receiver will pay all allowed Tax Claims.
 12         3. Class 3: The Receiver will pay DLIFF’s pro rata share, to be shared with Class
 13            4 based upon the terms of the Claims Stipulation, of the remaining funds up to
 14            the proposed $150 million interim distribution following payment or reserves
 15            for Classes 1 and 2.
 16         4. Class 4: The DLIF Investors will receive distribution of their pro rata share of
 17            the distribution to be made to Class 4B, to be shared with Class 3, up to the
 18            amounts of the proposed $150 million interim distribution following payment
 19            or reserves for Classes 1, 2 and 4A.
 20         The Receiver believes that an interim distribution of $150 million is appropriate
 21 and reasonable. The Receiver will continue to hold approximately $50 million of
 22 undistributed cash on hand, and he anticipates collecting an additional $85 million in
 23 connection with the loan portfolios. Additionally, the Receiver is at the beginning stages
 24 of pursuing litigation claims and believes that additional recoveries may result from his
 25 litigation efforts.
 26 IX.     NOTICE OF THE HEARING ON THIS MOTION SHOULD BE
 27         DEEMED APPROPRIATE AND SUFFICIENT
 28                                       47
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  1         The Receiver has served notice of the hearing on this Motion on the parties
  2 and by mail to the known non-investor creditors of the Receivership Entity. The
  3 Receiver has posted the notice of hearing and the Motion on the Receiver’s website
  4 (https://cases.stretto.com/dli). The Receiver has also directed Stretto, his Court-
  5 approved claims agent, to email the notice of hearing to all investors. The Receiver
  6 believes this notice complies with the provisions of Local Civil Rule 66-7 to the
  7 extent that notice to investors is required. The Receiver requests that the Court
  8 approve this form of notice as reasonable, appropriate, and the most cost-effective
  9 means of providing notice of the hearing under the circumstances, since there are
 10 approximately 975 investors both in the United States and overseas, and to the extent
 11 necessary, to approve the notice given as reasonable, limited notice appropriate under
 12 the circumstances and in the interests of time and cost. This Court, as a court of equity
 13 supervising the receivership estate, may make appropriate administrative orders
 14 governing the receivership, including limitations on and changes in notice and other
 15 procedures. See F.R. Civ. P. 5(a) and (c) (authorizing the court to modify service
 16 procedures when numerous defendants are involved in litigation). In addition,
 17 pursuant to Local Civil Rule 66-8, a receiver is directed to administer receivership
 18 estates in a manner “as nearly as possible in accordance with the practice in the
 19 administration of estates in bankruptcy.” Orders limiting notice when the Bankruptcy
 20 Code or Rules would otherwise require notice to all creditors are routinely granted in
 21 bankruptcy cases to promote the expeditious and economical administration of
 22 bankruptcy estates. See In re First Alliance Mortgage Co., 269 B.R. 428, 442 (C.D.
 23 Cal. 2001) (referencing in dicta in the court's recitation of facts the bankruptcy court's
 24 order limiting notice issued in that case); 11 U.S.C. § 102(1)(A) (defining the phrase
 25 "after notice and a hearing" to mean "after such notice as is appropriate in the
 26 particular circumstances, and such opportunity for hearing as is appropriate in the
 27 particular circumstances").
 28                                        48
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  1 X.     CONCLUSION
  2        WHEREFORE, the Receiver respectfully requests that the Court grant the
  3 Motion and all relief requested therein.
  4
  5 DATED: November 20, 2020             DIAMOND McCARTHY LLP
  6                                      By: /s/ Kathy Bazoian Phelps
  7                                          Kathy Bazoian Phelps
                                             Counsel for Bradley D. Sharp,
  8                                          Permanent Receiver
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